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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 RYAN MERHOLZ, and MELVYN KLEIN,                        Case No.: 3:20-cv-00557-VAB
 Derivatively On Behalf Of WORLD WRESTLING
 ENTERTAINMENT, INC.,
                                                        VERIFIED AMENDED
                         Plaintiffs,                    STOCKHOLDER DERIVATIVE
                                                        COMPLAINT
                 v.

 VINCENT K. MCMAHON, STEPHANIE                          JURY TRIAL DEMANDED
 MCMAHON, PAUL LEVESQUE, FRANK A.
 RIDDICK, III, STUART U. GOLDFARB,
 LAUREEN ONG, ROBYN W. PETERSON, MAN
 JIT SINGH, JEFFREY R. SPEED, ALAN M.
 WEXLER, GEORGE A. BARRIOS, and
 MICHELLE D. WILSON,

                         Defendants,

 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                        Nominal Defendant.


       Plaintiffs Ryan Merholz and Melvyn Klein (“Plaintiffs”), derivatively and on behalf of

World Wrestling Entertainment, Inc. (“WWE” or the “Company”), by Plaintiffs’ undersigned

attorneys, for Plaintiffs’ verified amended complaint against Defendants, allege the following based

upon personal knowledge as to Plaintiffs and Plaintiffs’ own acts, and information and belief as to

all other matters, based upon, among other things, the investigation conducted by and through

Plaintiffs’ attorneys, which included a review of Defendants’ public documents, conference calls

and announcements made by Defendants, United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by and regarding WWE, Company press

releases and conference call transcripts, litigation concerning the Company and media and social
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media reports about the Company. Plaintiffs believe that substantial additional evidentiary support

will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                     NATURE OF THE ACTION

          1.       This is a shareholder derivative action brought in the right, and for the benefit, of

WWE against certain of its officers and directors seeking to remedy Defendants’ (defined below)

breach of fiduciary duties, waste of corporate assets, unjust enrichment, and violations of Section

10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”).

                                    JURISDICTION AND VENUE

          2.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that this

Complaint states a federal question: Violations of Sections 10(b) and 20(a) of the Exchange Act.

This Court has supplemental jurisdiction over the state law claims asserted herein pursuant to 28

U.S.C. § 1367(a). This action is not a collusive one to confer jurisdiction on a court of the United

States which it would not otherwise have.

          3.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because

the Company is headquartered in this District, a substantial portion of the transactions and wrongs,

complained of herein occurred in this District, and Defendants have received substantial

compensation in this District by engaging in numerous activities that had an effect in this District.

                                                PARTIES

Plaintiffs

          4.       Plaintiff Ryan Merholz (“Plaintiff Merholz”) is a current stockholder of the

Company and intends to retain ownership of said shares through the prosecution of the instant

matter.

          5.       Plaintiff Melvyn Klein (Plaintiff Klein”) is a current stockholder of the Company




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and intends to retain ownership of said shares through the prosecution of the instant matter.

Nominal Defendant

       6.       Nominal Defendant WWE is headquartered in Stamford, Connecticut. WWE Class

A common stock is listed and trades on the NYSE under the ticker symbol “WWE.” The holders

of WWE Class A common stock generally have the same rights as holders of WWE Class B

common stock, except that holders of Class A common stock are entitled to one vote per share,

whereas holders of Class B common stock are entitled to ten votes per share.

       7.       Defendants (defined below) admit that because “[a] substantial majority of the

issued and outstanding shares of Class B common stock is owned beneficially by [Defendant V.]

McMahon,” “he controls a majority of the voting power of [WWE] common stock and can

effectively exercise control over [WWE’s] affairs.”

Directors

       8.       Defendant Vincent K. McMahon (“V. McMahon”) has been the Chairman of the

Board of Directors (“Board”) and Chief Executive Officer (“CEO”) of the Company since 1980.

       9.       Defendant Stephanie McMahon (“S. McMahon”) is a director and Chief Brand

Officer of the Company since 2015. Defendant S. McMahon is the daughter of Defendant V.

McMahon.

       10.      Defendant Paul Levesque (“Levesque”) is a director and the EVP of Global Talent

Strategy & Development since 2015. Defendant Levesque is the husband of Defendant S.

McMahon. He is also the son-in-law of Defendant V. McMahon.

       11.      Defendant Frank A. Riddick, III (“Riddick”) is a director and Interim Chief

Financial Officer (“CFO”) of the Company since 2008.

       12.      Defendant Stuart U. Goldfarb (“Goldfarb”) is a director of the Company since




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2011. Defendant Goldfard is also a member of the Audit Committee and the Governance and

Nominating Committee.

       13.      Defendant Laureen Ong (“Ong”) is a director of the Company. Defendant Ong is

also the Chair of the Compensation Committee and the Governance and Nominating Committee.

       14.      Defendant Robyn W. Peterson (“Peterson”) is a director of the Company.

Defendant Peterson is also a member of the Governance and Nominating Committee.

       15.      Defendant Man Jit Singh (“Singh”) is a director of the Company. Defendant

Singh is also a member of the Audit Committee.

       16.      Defendant Jeffrey R. Speed (“Speed”) is a director of the Company. Defendant

Speed is Chair of the Audit Committee and a member of the Compensation Committee.

       17.      Defendant Alan M. Wexler (“Wexler”) is a director of the Company. Defendant

Wexler is a member of the Compensation Committee.

       18.      Defendants V. McMahon, S. McMahon, Levesque, Riddick, Goldfarb, Ong,

Peterson, Singh, Speed, and Wexler are collectively hereinafter referred to as the “Director

Defendants.”

Officer Defendants

       19.      Defendants George A. Barrios (“Barrios”) was a Co-President of the Company, its

principle financial officer and a member of the Company’s Board. On January 30, 2020, the

Company announced that Defendant Barrios had abruptly left the Company “effective

immediately.”

       20.      Defendant Michelle D. Wilson (“Wilson”) was a Co-President of the Company

and a member of the Company’s Board. On January 30, 2020, the Company announced that

Defendant Wilson had abruptly left the Company “effective immediately.”




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       21.     The Director Defendants and Defendants Barrios and Wilson are herein referred to

as “Defendants.”

                          THE AUDIT COMMITTEE CHARTER

       22.     The Audit Committee Charter states in relevant part:

       The Audit Committee shall provide assistance to the Directors in fulfilling their
       responsibility to the stockholders, potential stockholders, and investment
       community relating to corporate accounting, reporting practices of the Company
       and the quality and integrity of financial reports of the Company. In so doing, the
       Audit Committee shall assist the Board in overseeing:

       •       the accounting and financial reporting practices of the Company;

       •       the audits of the Company’s financial statements including without
               limitation the performance of the Company’s internal controls and
               internal audit function and the independent auditor’s qualifications,
               independence and performance;

       •       the integrity of the Company’s financial statements;

       •       the Company’s compliance with legal and regulatory requirements; and

       •       the Company’s system of disclosure controls and system of internal controls
               regarding finance, accounting, legal compliance and ethics that
               management and the Board have established.

       While certain duties and responsibilities of the Audit Committee are more
       specifically set forth below, the general function of the Audit Committee is
       oversight.

       Management of the Company is responsible for the preparation, presentation and
       integrity of the Company’s financial statements. In addition, management is
       responsible for maintaining appropriate accounting and financial reporting
       principles and policies and internal controls and procedures designed to assure
       compliance with accounting standards and applicable laws and regulations.

       Each member of the Audit Committee may rely on (i) the integrity of those persons
       and organizations within and outside the Company from which it receives
       information; and (ii) the accuracy of the financial and other information provided
       to the Audit Committee by such persons or organizations absent actual knowledge
       to the contrary (which shall promptly be reported to the Board).

       As more fully described in “Responsibilities” below, the outside auditors for the



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Company are accountable to the Audit Committee. The outside auditors shall
submit to the Audit Committee and the Company annually a formal written
statement delineating all relationships between the outside auditors and the
Company (“Statement as to Independence”), addressing at least the matters set forth
in Independence Standard No. 1 adopted by the Independence Standards Board.

                                    *     *      *

RESPONSIBILITIES

The Audit Committee will primarily fulfill its responsibilities by carrying out the
activities enumerated in this Section below. The Audit Committee will report
regularly to the Board regarding the execution of these duties and responsibilities,
including, without limitation, its (i) evaluation of the independent auditors; (ii) the
quality and integrity of the Company’s financial statements; (iii) the Company’s
compliance with legal and regulatory requirements; (iv) the qualifications,
performance and independence of the Company’s independent auditors; and (v) the
performance of the internal audit function. The Audit Committee has the authority,
without seeking Board approval, to, and shall, obtain advice and assistance from
outside legal, accounting and/or other advisors as deemed appropriate by the
Committee to fully execute its duties and responsibilities. The Company shall
provide appropriate funding, as determined by the Audit Committee, for
compensation for the independent auditors for the purpose of preparing or issuing
an audit report or performing other audit, review or attestation services and for any
outside legal, accounting and other advisers that the Audit Committee may choose
to engage and for ordinary administrative expenses of the Audit Committee that are
necessary or appropriate in carrying out its duties. None of the Committee’s
responsibilities may be delegated to any other committee of the Board.

The Audit Committee shall:

Documents/Reports/Accounting Information Review

1.       Review this Charter at least annually, and recommend to the Board any
         necessary amendments as conditions dictate.

2.       Review and discuss with management and the independent auditor the
         Company’s audited financial statements, quarterly financial statements and
         all internal controls reports (or summaries thereof). Review any other
         relevant reports or financial information submitted by the Company to any
         governmental body, or the public, including management certifications as
         required by the SarbanesOxley Act of 2002 (Sections 302 and 906) and
         relevant reports rendered by the independent auditors (or summaries
         thereof).

3.       Review with financial management and the independent auditor each



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         Quarterly Report on Form 10-Q and each Annual Report on Form 10-K
         (including, without limitation, the Company’s specific disclosures under
         “Management’s Discussion and Analysis of Financial Condition and
         Results of Operations”) prior to its filing.

4.       Review and discuss earnings press releases with management, including the
         type and presentation of information, paying particular attention to any use
         of “proforma”, “adjusted” or other information which is not required by
         generally accepted accounting principles (“GAAP”).

5.       Review and discuss with management financial information and earnings
         guidance provided to analysts and rating agencies. Such discussions may be
         on general terms (i.e., discussion of the types of information to be disclosed
         and the type of presentation to be made) and need not be in advance of each
         earnings release or earnings guidance.

6.       Review the regular internal reports (or summaries thereof) to management
         prepared by the internal auditing department and management’s response.

7.       Recommend to the Board whether the audited financial statements should
         be included in the Company’s Annual Report on Form 10-K.

8.       Obtain from the outside auditor assurance that the audit was conducted in a
         manner consistent with Section 10A of the Securities Exchange Act of
         1934, as amended, which sets forth certain procedures to be followed in any
         audit of financial statements required under the Securities Exchange Act of
         1934.

Independent Auditors

9.       Have sole authority to appoint (subject to stockholder ratification),
         compensate, retain and oversee the work performed by the independent
         auditor engaged for the purpose of preparing and issuing an audit report or
         performing other audit, review or attest services for the Company. The
         Audit Committee shall have the ultimate authority to approve all audit
         engagement fees and terms. The Audit Committee shall have sole authority
         to review the performance of the independent auditor and remove the
         independent auditor if circumstances warrant. The independent auditor shall
         report directly to the Audit Committee and the Audit Committee shall
         oversee the resolution of any disagreement between management and the
         independent auditor in the event that any may arise.

10.      Review with the independent auditor (without representatives of
         management when deemed necessary) reports or communications (and
         management’s and/or the internal audit department’s response thereto)
         submitted to the Audit Committee by the outside auditors required by or



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    referred to in PCAOB AU 380 and SEC Rule 2-07 of Regulation S-X;
    review any problems or difficulties with an audit and management’s
    response, including any restrictions on the scope of the independent
    auditor’s activities or access to requested information, and any significant
    disagreements with management; and review and hold timely discussions
    with the independent auditor regarding the following:

    •      all critical accounting policies and practices and other major issues
           Regarding accounting principles and financial statement
           presentations, including significant changes in accounting
           principles;

    •      all alternative treatments of financial information within GAAP that
           have been discussed with management, ramifications of the use of
           such alternative disclosures and treatments, and the treatment
           preferred by the independent auditor;

    •      other material written communications between the independent
           auditor and management including, but not limited to, any
           “management” or “internal control” letter issued, or proposed to be
           issued, by the independent auditor and schedule of unadjusted
           differences;

    •      the scope of the annual audit;

    •      the audited financial statements and disclosures made in
           Management’s Discussion and Analysis;

    •      significant risks and exposures, if any, and the steps taken to monitor
           and minimize such risks;

    •      any other significant matters arising from any audit or report or
           communication referred to in items 2 or 3 above, whether raised by
           management, the internal audit department or the outside auditor,
           relating to the Company’s financial statements;

    •      review the form of opinion the outside auditor proposes to render to
           the Board and stockholders;

    •      any accounting adjustments that were noted or proposed by the
           independent auditor but were “passed” (as immaterial or otherwise);
           and

    •      any communications between the audit team and the audit firm’s
           national office respecting auditing or accounting issues presented by
           the engagement.



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11.    At least annually, obtain and review a report by the independent auditor to
       allow the Committee to evaluate the independent auditor’s qualifications,
       performance and independence. The independent auditor’s report shall
       describe:

       •       the firm’s internal quality control procedures, the budget, staffing
               and responsibilities of the internal audit department and any
               recommended changes in the planned scope of the internal audit;

       •       any material issues raised by the most recent internal quality-control
               review or peer review of the independent auditor, or by any inquiry
               or investigation by governmental or professional authorities, within
               the preceding five years, respecting one or more independent audits
               carried out by the firm, and any steps taken to deal with any such
               issues;

       •       (to assess the auditor’s independence) all relationships between the
               independent auditor and the Company;

This Committee’s evaluation of the independent auditor shall include the review
and evaluation of the lead partner and shall take into account the opinions of
management and the Company’s internal auditor (or other personnel responsible
for the internal audit functions). The Audit Committee shall present its conclusions
with respect to the independent auditor to the full Board.

12.    Review audit services and approve in advance non audit services to be
       provided by the independent auditor, taking into consideration SEC rules
       regarding permissible and impermissible services by such independent
       auditor. This duty may be delegated to one or more designated members of
       the Audit Committee with any such preapproval reported to the Audit
       Committee at its next regularly scheduled meeting. Approval of non audit
       services shall be disclosed to investors in periodic reports to the extent
       required by Section 13(a) of the Securities Exchange Act of 1934.

13.    Set clear hiring policies, compliant with governing laws or regulations, for
       employees or former employees of the independent auditor.

14.    Review and evaluate the lead audit partner of the independent auditor.

15.    Assure the regular rotation of the lead audit partner as required by law, and
       further consider whether regular rotation of the independent auditor itself is
       advisable to assure continuing auditor independence.




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                                            FACTS

Background

       23.     The Company engages in the sports entertainment business in North America,

Europe, the Middle East, Africa, the Asia Pacific, and Latin America. As in other professional

wrestling promotions, the Company’s shows are not legitimate contests, but are entertainment

based and feature storyline-driven, scripted, and choreographed matches.

       24.     Company personnel consist of professional wrestlers, managers, play-by-play and

color commentators, ring announcers, interviewers, referees, trainers, producers, script writers,

and various other positions.

       25.     Personnel can also appear on the Company’s other weekly television programming,

as well on pay-per-view and untelevised live events.

       26.     The Company reports revenues in three segments: (1) Live Events; (2) Media; and

(3) Consumer Products.

       27.     Live Events provides ongoing content for the Company’s media platforms and Live

Event segment revenues consist primarily of ticket sales, including primary and secondary

distribution, revenues from events for which the Company receives a fixed fee, as well as the sale

of travel packages associated with the Company’s global live events.

       28.     The Media segment reflects the production and monetization of long-form and

short-form media content across various platforms, including WWE Network, pay television,

digital and social media, as well as filmed entertainment. Across these platforms, revenues

principally consist of content rights fees, subscriptions to WWE Network, and advertising and

sponsorships. Media net revenues were $683.4 million, $535.6 million, and $476.9 million,

representing 73%, 67%, and 65% of the Company’s total net revenues in fiscal years 2018, 2017,




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and 2016, respectively.

       29.     By the early 2000s, the Company was intent on international expansion. Although

the brand continued to have success in the domestic market, it experienced bouts of ratings dips

and lowered attendance at its live events, and so the Company recognized the need to expand its

global presence and further diversify its fan base.

       30.     The Company’s brand of professional wrestling made for an ideal export. The

Company’s Executive VP of Marketing, Kurt Schneider, provided a number of reasons why in an

October 2005 interview, explaining that, unlike major sports leagues, there are no game “rules” to

understand—it’s simply a straightforward depiction of good (the “faces”) versus evil (the “heels”);

fans do not need to understand any one language to consume it; most countries have had wrestling

in some form as part of their culture; and WWE wrestling is seen as a uniquely American export.

       31.     Although the Company already had an international presence by the early 2000s, it

was mostly via television deals in international markets. Television deals in international markets

were one of the Company’s many wrestling-related revenue streams.

       32.     Another business model of the Company is to sponsor live events internationally.

The Company leverages these live events to more effectively grow and monetize its content.

       33.     As Defendant V. McMahon explained in 2004:

       From an international standpoint, I don’t think we’ve done a very good job, quite
       frankly, of exploiting the international market like we really should. We’re on
       television in many, many markets and do extremely well television ratings-wise,
       but that’s only one aspect of what we do. We do licensing; we do merchandising,
       and live events, and publications, and DVD’s and everything else imaginable. And
       we haven’t integrated all of that in our international platforms, and [doing that] is
       one of our goals.1

1
         Joshua A. Shuart, Ph.D. & Peter A. Maresco, World Wrestling Entertainment:
Achieving Continued Growth and Market Penetration through International Expansion, THE
SPORT JOURNAL, dated Sept. 6, 2006 at https://thesportjournal.org/article/world-wrestling-
entertainment-achieving-continued-growth-and-market-penetration-through-international-
expansion/ (last visited June 17, 2020).


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       34.     This strategy was formally outlined in the Company’s 2005 Form 10-K, dated July

13, 2005:

       Continue to expand internationally. International expansion represents an
       important part of our business strategy. The broad appeal of our content has yielded
       high international demand for our television programs and live events. To further
       nurture this demand, we plan to continue to expand our international television
       distribution. Increasing our television penetration around the world will likely
       increase the demand for live events abroad, which, in turn, should increase sales of
       our branded merchandise. Our dual brands enable us to execute this strategy by
       freeing up schedules for talent to perform at more events in more countries. Fiscal
       2005 included 49 international events, including six productions of our flagship
       television shows from the international stage, which is up from 32 international
       events, with no televised events, in fiscal 2004.

       35.     The Company started to increase the number of tours and live events it held

internationally, growing its presence in Europe and Asia, and expanding into other regions,

including the Middle East, Latin America, Australia, and New Zealand.

       36.     The Company also continued to expand its television distribution internationally,

which it used to support its live events and merchandise sales, and to more generally grow the

popularity of the sport in new markets. Further, selling the rights to air WWE content in

international markets proved to be a significant revenue generator of its own.

       37.     An important part of the Company’s international expansion involved extending

the Company’s reach into countries within the Middle East and North Africa (“MENA”) region.

       38.     An entity known as Orbit Showcase Network (“OSN”) is a direct-broadcast satellite

provider serving the MENA region. OSN has traditionally offered popular entertainment content

such as movies, sporting events, and various TV shows from major U.S. and international networks

and studios, in addition to local versions specifically for the MENA region.




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       39.     On July 21, 2014, the Company and OSN announced a five-year exclusive media

agreement, reporting that “WWE’s flagship television program Monday Night Raw [would] air

live on OSN, WWE’s exclusive pay TV partner in the Middle East and North Africa through

2019.” According to a press release, “[u]nder this new agreement, fans [could] now enjoy all of

WWE’s programming, including Raw, SmackDown®, NXT™ and Main Event™, as well as

WWE pay-per-view events including WrestleMania® and SummerSlam®, in one place on OSN

Sports 2 HD.” The press release further stated:

       “OSN and WWE have a long-standing relationship and we are very excited to be
       taking that to the next level,” said Andy Warkman, OSN’s VP of Sport &
       Production. “For the first time in the region, all core WWE programming will be
       available in one place, making OSN the home of WWE, reaching an audience
       across more than 20 countries. This deal furthers our commitment to bringing our
       customers the best content.”

       “WWE is very excited to be extending and expanding its deal with OSN in the
       Middle East,” said Carlo Nohra, General Manager of WWE Middle East. “OSN
       hosts some of the very best international entertainment and sports programming
       and is the perfect home for WWE programming. Together with OSN, we will
       continue to grow our TV, pay-per-view, live event and consumer products
       businesses across the Middle East.”

       40.     On February 15, 2015, the Company and OSN jointly issued a press release

reporting that they were adding WWE Network to the five-year agreement as part of an expanded

partnership.

       41.     The international expansion proved successful.     The Company’s international

revenues increased from $87.6 million in 2005 to $135.3 million in 2010. After a decline over the

next few years, the Company’s international revenues increased to $169.8 million in 2015, $189

million in 2016, and $201 million in 2017—the increase during these more recent years driven, in

part, by the 2014 launch of the WWE Network—a subscription streaming network available in

more than 170 countries.




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       42.     The Company’s growing international revenue began to represent an increasingly

large percentage of its total revenue. For instance, in 2017, the Company’s international segment

represented 25%, with North America representing 75% of revenues. In 2018, the international

segment increased to 34% of total revenues (with North America revenues falling to 66%). While

the international segment slightly decreased to 32% of total revenues in 2019 (with North America

revenues at 68%), the Company stated “WWE is well positioned to take advantage of significant

growth opportunities, including the rising value of live sports content, the growth of media and

entertainment in international markets, and the evolution of other businesses, specifically WWE

Network.”2

       43.     Defendant V. McMahon told shareholders that the Company’s goal was to increase

its presence in large international markets. For instance, in May 2017, Defendant V. McMahon

told investors: “The recent production of WrestleMania set records for network viewership as well

as digital and social engagement. As we leverage continuing innovation to extend our reach in

India, China and around the world, we are confident that the enduring and increasing global power

of our brands will provide a solid foundation for long-term growth.” 3

       44.     Expansion into the MENA region became an increasingly important part of the

Company’s business plans and growth initiatives, as the Middle East grew to become the

Company’s second largest market by monetization.

       45.     The Company is popular in the Middle East, and it has had a presence in the region

for many years, initially via distribution of its programming to regional television networks. The



2
        Emphasis added throughout unless noted otherwise.
3
        Darren Heitner, The WWE Is Exploring Overseas Opportunitis For Further Revenue Growth,
FORBES, dated July 17, 2017 at https://www.forbes.com/sites/darrenheitner/2017/07/17/the-wwe-is-
exploring-overseas-opportunities-for-further-revenue-growth/#145d47b522bd (last visited June 17, 2020).



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Company also has been holding live events in the Middle East for nearly a decade, starting in 2011.

       46.     Another goal of the Company was its intent to deepen its relationship with the Saudi

government with a view to making greater profits in the entire MENA region.

       47.     The Kingdom of Saudi Arabia is an absolute monarchy ruled by the Al Saud royal

family. Beginning in 2014, the Saudi government began hosting several WWE live events in Saudi

Arabia. The events were lucrative for WWE, and later expanded as part of Saudi Arabia’s social

and economic reform program, known as “Saudi Vision 2030.”

       48.     In March 2018, the Saudi Press Agency announced that WWE and the Saudi

General Sports Authority had signed a 10-year multi-platform partnership with WWE to hold

wrestling events in the country. The market believes this partnership was worth approximately

$500 million to WWE. A press release issued by the Company and the Saudi General Sports

Authority described the deal as follows:

       The Saudi General Sports Authority in partnership with WWE will present the
       Greatest Royal Rumble event at the King Abdullah Sports City in Jeddah, Saudi
       Arabia on Friday, April 27. For the first time ever, the Royal Rumble match will
       feature 50 WWE Superstars. As part of this historic event, fans will see WWE
       Superstars John Cena™, Triple H™, Roman Reigns™, AJ Styles™, Braun
       Strowman™, The New Day™, Randy Orton™, Bray Wyatt™ and Shinsuke
       Nakamura™, among others.

                                           *    *       *

       Ticket and broadcast information will be available in the coming weeks. This event
       is part of a 10-year strategic multiplatform partnership in support of Vision 2030,
       Saudi Arabia’s social and economic reform program. 4

       49.     “The Greatest Royal Rumble will be a spectacle of historic proportions,” said

Defendant V. McMahon. “Our partnership with the Saudi General Sports Authority reflects a



4
         Saudi Arabia to Host the Greatest Royal Rumble, Business Wire News, dated March 5, 2018 at
https://www.businesswire.com/news/home/20180305005764/en/Saudi-Arabia-Host-
the%C2%A0Greatest-Royal-Rumble%C2%AE (last visited June 17, 2020).


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long-term commitment to present WWE’s world-class entertainment to a global audience on a

grander scale than ever before.”5

       50.     The first event held under the Saudi partnership was the Greatest Royal Rumble,

which took place on April 27, 2018 at the King Abdullah International Stadium in Jeddah, Saudi

Arabia. The Company hailed the event as the largest “outside the U.S. in the past 16 years” and a

major contributor to the Company’s “record” second quarter 2018 results. Speaking during an

earnings call with investors, Defendant Wilson stated that, “[a]s added proof of the compelling

nature of our content, last Friday, we held one of our largest events ever outside the United States,

with a sold-out crowd at the Greatest Royal Rumble event in Jeddah, Saudi Arabia.” Defendant

Wilson continued, stating that “[t]he April 27th event marked the successful beginning of a 10-

year partnership with the Kingdom of Saudi Arabia.”

       51.     Although the Company was criticized for holding the event without female

wrestlers in accord with Saudi government policies, female fans were allowed to attend if

accompanied by a male guardian. During the show, a WWE commercial was aired that included

female wrestlers in their ordinary regalia, inciting the Saudi General Sports Commission to issue

an apology to Saudi citizens for the “indecent material.” The Company also sought to tamp down

allegations that the partnership gave legitimacy and cover to an oppressive regime. For instance,

Defendant Levesque responded to the criticism: “‘I understand that people are questioning it, but

you have to understand that every culture is different and just because you don’t agree with a

certain aspect of it, it doesn’t mean it’s not a relevant culture. You can’t dictate to a country or a

religion about how they handle things but, having said that, WWE is at the forefront of a women’s

evolution in the world and what you can’t do is effect change anywhere by staying away from it.’”



5
       Id.


                                                 16
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Defendant Levesque also stated: “‘While, right now, women are not competing in the event, we

have had discussions about that and we believe and hope that, in the next few years they will be.’” 6

       52.     The Company continued to view business dealings with the Saudi government as a

lucrative entrance point into the MENA region and a key pillar of its business plans. For instance,

in discussing the Company’s “record” second quarter 2018 results, Defendant V. McMahon stated:

“‘We’re pleased with our continued success in increasing the monetization of WWE content

globally.” Defendant V. McMahon claimed this “‘success is evidenced by the development of a

10-year strategic partnership with the Saudi General Sports Authority,’” which he listed as among

the Company’s most important international initiatives. 7

       53.     On October 2, 2018, the world was shocked to learn of the murder of journalist

Jamal Khashoggi, in which the Saudi government was implicated. It was rumored that the next

anticipated WWE live event scheduled to take place in Saudi Arabia, Crown Jewel, might be

cancelled. But the event went forward, with the Company stating on October 25, 2018, in

connection with its third quarter 2018 results, that “[s]imilar to other U.S.-based companies who

plan to continue operations in Saudi Arabia, the Company has decided to uphold its contractual

obligations to the General Sports Authority.”8

       54.     The Company’s expansion into Saudi Arabia must be understood in the context of

Vision 2030—a strategic initiative launched in 2016 by the current Crown Prince of Saudi Arabia




6
         WWE defends omission of women from Saudi Arabian tournament, dated April 26, 2018 at
https://westfaironline.com/101941/wwe-defends-omission-of-women-from-saudi-arabian-tournament/
(last visited June 17, 2020).
7
         WWE® Reports Record Revenue and Strong Q2 2018 Results, dated July 26, 2018 at
https://corporate.wwe.com/investors/news/press-releases/2018/07-26-2018-133155541 (last visited June
17, 2020).
8
         WWE event in Saudi Arabia to go on as scheduled, dated Oct. 25, 2018 at
https://www.wjhl.com/news/wwe-event-in-saudi-arabia-to-go-on-as-scheduled/ (last visited June 17,
2020).


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(at the time, the Deputy Crown Prince), Mohammed bin Salman, to institute social reforms in

Saudi Arabia and diversify its economy.

       55.        Vision 2030 is principally an economic initiative aimed at reducing the country’s

dependence on oil, but it also includes a progressive reform program that seeks to modernize

certain elements of the country’s religious society. Part of this initiative has included significant

investment in Saudi Arabia’s entertainment sector, including bringing international sporting events

to the country.

       56.        Sports have become a central feature of the Vision 2030 program, so much so that

the Saudis retained an American lobbying firm (Churchill Ripley) to arrange meetings with

representatives from the National Basketball Association, Major League Soccer, World Surf

League and Formula One auto racing to discuss bringing international sports to the kingdom. The

chairman of the Saudi General Sports Authority (“SGSA”), Prince Abdulaziz bin Turki Al-Faisal,

has explained that making Saudi Arabia a hub of global sports could boost the country’s economic

growth and create thousands of jobs: “A big part of the change within the kingdom is the sector of

sport and growing the sector of sport.”9 While the sports expansion is central to the Crown Prince’s

effort to attract foreign investment and convince the world that the country is making important

changes to its society, it has been viewed by critics as an attempt to distract attention from the

country’s continued human rights abuses—called “sportswashing” by some. 10

       57.        The financial support behind the efforts to bring Western sports to Saudi Arabia is

the country’s Sports Development Fund, which provides capital to build new sports facilities and

attract and promote international sports events. Events have included Saudi Arabia’s first


9
       Alan Rappeport, Saudi Arabia Embraces Western Sports to Rehabilitate Global Image, N.Y.
TIMES, dated Dec. 2, 2019 at https://www.nytimes.com/2019/12/02/business/economy/saudi-arabia-
image-sports.html (last visited June 17, 2020).
10
       Id.

                                                  18
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international motorsport event, the two-day Race of Champions, conducted in Riyadh in February

2018, as well as an international boxing event conducted in Jeddah in May later that year.

       58.     The 10-year partnership agreement between the Company and the SGSA was part

of this same effort, as it was designed to bring large-scale international sporting events to Saudi

Arabia, in this case, professional wrestling.

       59.     Not only did the partnership serve the Saudi government’s needs, but it also

benefited the Company. The Company’s brand of professional wrestling is extremely popular in

Saudi Arabia, and the Company viewed this partnership as an opportunity to deepen its relationship

with the Saudi government and leverage it to further grow its brand in the MENA region.

       60.     On April 2018, Defendant Barrios was asked about the partnership on a “WWE

Post-WrestleMania Call.” Defendant Barrios explained that the Company’s content is popular in

Saudi Arabia on its social media channels (for instance, YouTube), which popularity the Company

believed it could more effectively monetize by signing the 10-year partnership.

       61.     The partnership agreement also was announced at a time when the Company was

working to increase its profile in the Middle East by signing and promoting talent from within the

region. These signings included the Company’s first Kuwaiti and Egyptian wrestlers, signed in

December 2017 and January 2018, respectively, as well as the Company’s first female wrestler

from the Arab world—the Jordanian Shadia Bseiso—signed in October 2017.

       62.     The Company also hosted recruitment events throughout the MENA region,

including Saudi Arabia, in an effort to not only grow and diversify the talent pool, but also to

localize the content around the world.

       63.     These efforts to build its brand in the MENA region was successful, considering

that by February 2019, the Middle East grew to become the Company’s second largest market by




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monetization.

        64.     The Company’s full-year 2018 results also benefited significantly from the two

events held pursuant to the Saudi partnership. Market participants estimated that the Greatest

Royal Rumble (held in April 2018) and the Crown Jewel (held in November 2018) together

generated revenues for the Company in the range of $70 to $80 million. 11 These results are

significant considering that the Company announced that its revenues for 2018 were “the highest

in the Company’s history,” increasing 16% from the prior year to $930.2 million. The Company

also announced that “international revenue increased 58% to $317.8 million from $201.3 million

in the prior year, the highest in the Company’s history and the first-time international revenue has

exceeded $300 million.”12

        65.     More specifically, the February 7, 2019 press release revealed that revenues in the

Media segment for 2018 “increased by $147.8 million, or 28%, to $683.4 million in 2018 over the

prior year, primarily driven by the $95.8 million increase of Other media revenues, due to the

addition of certain live, in-ring programming content in international markets.”13 The Company

therefore generated an additional $95.8 million in the Media segment (as compared to the prior

year) from “certain live, in-ring programming content in international markets,” the vast majority

of which was estimated to be from the two events in Saudi Arabia. 14

11
         Ray Giri, How Much WWE May Have Made With Saudi Arabia Deal In 2018,
 WRESTLINGINC.COM, dated Feb. 7, 2019 at https://www.wrestlinginc.com/news/2019/02/how-much-
 wwe-may-have-made-with-saudi-arabia-deal-in-2019-650684/ (last visited June 17, 2020).
12
         WWE® Reports Record Results For Fourth Quarter and Full Year 2018, dated Feb. 7, 2019 at
https://www.businesswire.com/news/home/20190207005303/en/WWE%C2%AE-Reports-Record-
Results-Fourth-Quarter-Full (last visited June 17, 2020).
13
         Id. The press release included the following note describing what “Other” revenues for the Media
segment is defined to mean: “Other forms of media monetization reflect revenues earned from the
distribution of other content, including, but not limited to, certain live in-ring programming content in
international markets, scripted, reality and other programming, theatrical and direct-to-home video
releases.”
 14
         Ray Giri, How Much WWE May Have Made With Saudi Arabia Deal In 2018,
 WRESTLINGINC.COM (Feb. 7, 2019) at https://www.wrestlinginc.com/news/2019/02/how-much-wwe-


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        66.     The Company’s Media segment, which is the Company’s largest segment in terms

of revenue, includes a number of different revenue streams, including revenue from content rights

fees, subscriptions to WWE Network, and advertising and sponsorships.

        67.     With respect to content rights fees, the Company generates revenues from fees

earned on the Company’s “core content,” which refers to the Company’s two long-running weekly

live television programs, called Raw (a three-hour weekly show) and SmackDown Live (a two-

hour weekly show). Both are live wrestling shows that feature WWE talent and portray the brand’s

wrestling-related story lines.

        68.     The Company generates revenue on this content by selling the exclusive right to air

Raw and SmackDown Live (as well as other WWE content) in the applicable region. In the United

States, Raw airs on the USA Network, which is owned by NBC Universal. SmackDown Live had

for years aired domestically also on the USA Network, but began airing on the Fox Network in

October 2019.

        69.     The Company enters into separate international distribution agreements with

television providers throughout the world.

        70.     In the Middle East, the Company’s exclusive provider of its content had for years

been OSN.

        71.     On July 21, 2014, the Company and OSN entered into a five-year exclusive media

rights agreement which provided OSN with exclusive access to WWE programming (i.e., Raw and

SmackDown Live) and pay-per-view events, including WrestleMania and SummerSlam, through

2019. From the Company’s perspective, the deal meant that the Company would have even greater


may-have-made-with-saudi-arabia-deal-in-2019-
650684/#:~:text=WWE%20held%20the%20Greatest%20Royal,Saudis%20for%20that%20event%20itsel
f. (last visited June 17, 2020).



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access to the MENA region, which it viewed as crucial to its efforts to continue its international

expansion.

       72.     On February 12, 2015, the Company and OSN jointly issued a release stating they

were adding WWE Network, the Company’s subscription streaming app service (like Netflix), to

the five-year agreement as part of an expanded partnership. In the announcement, Andy Warkman,

OSN’s Vice President, Sport and Production, stated that:

       We will be co-branding the linear channel OSN WWE Network HD and following
       on from our enhanced TV deal renewal last year, this is great news for WWE fans
       in the Middle East & North Africa region. We are looking forward to launching
       the Network in the coming weeks and cementing our position as the Home of WWE
       in the region.15

       73.     The WWE Network agreement with OSN meant that OSN subscribers would now

have access to the WWE Network content independent of any WWE Network subscription.

       74.     During a February 12, 2015 earnings call, Defendant Barrios indicated that OSN

subscribers who access the WWE Network for free, via the linear premium channel, are included

in the Company’s reported WWE Network subscriber figures:

       Regarding future subscriber growth, we continue to expect a gradual ramp-up over
       time as consumer awareness grows and consumers change behavior and adopt new
       technology. As we’ve said before, we’re executing a 5-part strategy that includes
       implementing high-impact customer acquisition and marketing programs, making
       the network available in new geographies, creating new content, expanding
       distribution platforms and developing new features. As part of that strategy, we
       continue to broaden our global distribution of WWE Network. Beginning January
       19, we made the network available in the U.K. and Ireland, which, almost
       overnight, became our second largest market globally. We’re also expanding WWE
       Network distribution in Canada, the Middle East and North Africa. Rogers
       Communications, our exclusive network distribution partner in Canada, has
       reached agreements with Cogeco Cable in Canada, Eastlink, Shaw and Shaw
       Direct, TELUS Optik TV and TELUS Satellite and Videotron, ensuring WWE
       Network will be available nationally in Canada before WrestleMania on March 29.


15
         OSN To Launch WWE® Network in the Middle East, dated Feb. 12, 2015
https://www.businesswire.com/news/home/20150212005115/en/OSN-Launch-WWE%C2%AE-Network-
Middle-East (last visited June 17, 2020).


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          Additionally, we reached an agreement with OSN, the leading pay-TV network
          in the Middle East and North Africa, to distribute WWE Network in the region
          as a premium linear channel, also launching before WrestleMania.

          75.   Thus, the Company’s reported WWE Network subscriber numbers were at least in

part dependent on those individuals in the MENA region who had access to the WWE Network by

virtue of the OSN agreement.

          76.   The market believed that the OSN agreement with the Company was worth millions

of dollars a year to WWE. In addition, the deal with OSN offered the additional benefit of growing

the sport in the MENA region.

          77.   The Company’s deal with OSN was going to expire toward the end of 2019, which

meant that the issue of whether the Company would renew the OSN agreement was important to

the market in 2018, given the growing importance of the MENA region and the then-recent deal

the Company inked with the Saudi government to hold live events in the country. Both were

deemed crucial to the Company’s ability to continue its growth and expansion in the MENA

region.

          78.   At the same time, the Company was telling investors that it expected to significantly

grow the revenue which it earns from its media rights agreement between 2018 and 2020. In the

presentation accompanying its June 27, 2018 conference call, the Company stated that it “expects

[that] revenue from existing and new ‘key content agreements,’ . . . will grow to approximately

$311M in 2019 and $462M in 2021.” 16 The Company’s “total revenue from ‘key content

agreements’ would increase to $314M in 2019 and $542M in 2021.” Id.

          79.   The Company’s effort to grow its media-rights related revenues reflects its ongoing


16
       WWE’s ‘key content agreements’ reflect the licensing of WWE’s flagship programs, Raw and
SmackDown in the U.S., U.K., India, Canada, LATAM, Middle East and South Africa, dated June 27, 2018
Conference Call Presentation at https://corporate.wwe.com/~/media/Files/W/WWE/company-
new/2018/wwe-us-deals-and-outlook-presentation-06-27-18.pdf (last visited June 17, 2020).


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strategy of transforming itself into a media company—something it has done with relative success

in recent years. This transformation has been widely covered by the mainstream financial press,

with one media outlet characterizing the WWE in early 2018 as not “just scripted wrestling

matches,” but rather “a media powerhouse.” 17

       80.     A January 19, 2018 CNBC article18 stated:

       With nearly $800 million in revenues, a $2.6 billion market cap and 850 million
       social media followers, World Wrestling Entertainment isn’t the tiny ticketing
       business it was 35 years ago.

       A massive overhaul of the wrestling network in 2013 and 2014 drove the “wave of
       growth” that made it a central player in digital media despite its seemingly niche
       content, CFO George Barrios told CNBC.

       “Content, continued global growth and the direct-to-consumer digital has turned us
       into a data powerhouse,” Barrios told “Mad Money” host Jim Cramer in a Friday
       interview. “We’ve seen about 70 percent growth since 2008, and we think there’s
       a lot more runway.”

       81.     It was critical that the Company successfully grow its international media-rights

related revenue between 2018 and 2020, as the Company had assured investors it would. This

required renewing some of the Company’s largest international media-rights agreements,

including the deal with OSN in the MENA region.

       82.     With respect to the MENA region, this meant that scrutiny was focused heading

into 2019 on the renewal of the OSN agreement, as well as on continued expansion in the region

as a result of live events held in Saudi Arabia pursuant to the 10-year partnership.

       83.     On February 7, 2019, the Company announced its fourth-quarter and full-year 2018


17
         Nathaniel Meyerssohn, Why WWE is a media juggernaut, MONEY, dated Feb. 7, 2018 at
 https://money.cnn.com/2018/02/07/news/companies/wwe-vince-mcmahon-wrestling/index.html       (last
 visited June 17, 2020).
18
          Lizzy Gurdus, WWE is a ‘data powerhouse’ thanks to content, growth and digital, CFO says
CNBC, dated Jan. 19, 2018 at https://www.cnbc.com/2018/01/19/wwe-is-a-data-powerhouse-thanks-to-
content-growth-and-digital-cfo.html (last visited June 17, 2020).



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financial results. On that same day, the Company also provided its full-year 2019 financial

guidance, reporting in a press release that the Company expected to achieve revenue of

approximately $1.0 billion and was targeting Adjusted OIBDA of at least $200 million.

Defendants informed investors that this financial outlook depended on the Company’s ability to

renew a number of expiring media-rights agreements, including in the Middle East. 19

       84.     This assurance in February of 2019 that the media-rights agreement in the Middle

East (i.e., the OSN agreement) would be “renewed,” was false because, as detailed below, OSN

informed the Company in November 2018 that it would not be renewing the agreement and would

instead terminate it early on March 31, 2019.

       85.     As a result, the Company was forced to try to find an entirely new media partner in

the Middle East and would be left without revenues on a MENA-region media-rights deal effective

April 1, 2019. Despite knowing this, Defendant Barrios told the market, during a presentation to

analysts at UBS on December 3, 2018, as follows:

       I mentioned the major markets for us. U.K., India, the Middle East, China, Latin
       America, Germany and a variety of other markets, those being the biggest, will be
       up for renewal here over the next 12 to 18 months. The expectation has been that
       we’d announce the distribution deal in the U.K. towards the end of this year; in
       India, in the beginning, first half of next year, we always tell people that can happen
       quicker than people expect, it could also take a little bit longer, but our kind of best
       estimate are these time lines. And as I mentioned, Middle East, Latin America,
       China and several other markets, we’ll announce as well over the next several
       months.

       86.     This same presentation used a slide deck that included the following graphic,

notably not including a disclosure that the OSN media rights agreement covering the Middle East

would expire in March 2019:



19
         WWE® Reports Record Results For Fourth Quarter and Full Year 2018 at
https://corporate.wwe.com/investors/news/press-releases/2019/02-07-2019-135807128 (last visited June
17, 2020)


                                                 25
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       87.     The next month, on January 8, 2019, during a presentation to analysts at Citigroup,

Defendant Barrios again failed to inform investors that the OSN deal would not be renewed and

would expire on March 31, 2019 (as detailed below). Defendant Barrios was asked if there were

any update regarding the negotiations of the Company’s key media-rights agreements up for

renewal in the coming year. Defendant Barrios responded: “No, not really. So we’re – I have a

busy travel schedule. But as I mentioned Middle East, Latin America, India, U.K., China, are

all deals that are kind of fairly active for us right now. And most of them expire starting middle

of ‘19 through the end of ‘19. We have a couple that’ll expire in 2020. But the majority of them

expire throughout this year.”

       88.     These statements were false. The Company had known for months that that the

media-rights agreement with OSN would not be renewed and would, in fact, be terminated early.

       89.     The Company representatives have since stated that the OSN deal was prematurely

terminated in December 2018. According to Carlo Nohra, VP and General Manager of WWE –

Middle East, who was the self-described principal point of contact with OSN regarding the

applicable media-rights agreements, in early 2018, OSN became delinquent in the payments of

rights fees to the Company.

       90.     Nohra explained that in September 2018, the Company sent OSN a “Notice of


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Material Breach” based on the delinquent payments. 20

       91.     OSN responded with a letter dated November 5, 2018, in which OSN’s general

counsel informed the Company that OSN was contemplating the future long-term funding of its

business and hoped to respond to the Company about the missed payments after an upcoming

Board meeting.

       92.     According to Nohra, in November 2018, OSN sent the Company an unsolicited

settlement proposal, in which OSN’s general counsel informed the Company that it intended to

exit its sport content business and conclude its sports coverage in early 2019.

       93.     Negotiations followed, and, according to Nohra, the Company and OSN entered

into a settlement agreement dated December 18, 2018 pursuant to which OSN and the Company

agreed to the early termination of their media-rights agreements effective March 31, 2019, and

OSN agreed to pay the Company all rights fees owed for 2018 and through March 31, 2019.

       94.     These facts are further confirmed by Andrew Warkman—who is the Company’s

current VP and General Manager of WWE UK & Ireland, but who worked at OSN through March

2019. Warkman explained that, in his role at OSN, he was responsible for managing the OSN’s


20
       According to a recent news article entitled New Details on Lawsuit Against WWE Over Saudi
Arabia TV Negotiations, dated June 16, 2020 by Jeremy Thomas:

       “WWE was allegedly looking for a new broadcast partner and tries to secure a deal with
       Middle East Broadcasting Center (MBC). An employee of MBC said that WWE had
       “wildly unreasonable expectations of the revenue it expected from a potential broadcast
       partner,” claiming that WWE proposed an $80 million annual licensing fee. They said that
       WWE projected over 100 million OTT subscribers, based on the number of OSN
       subscribers who watched WWE. However, MBC’s projections allegedly were that WWE
       would get 6.5 million subscribers “at most.” WWE rejected this estimate and MBC raised
       their estimate to 10 million subscribers in order to be cooperative, then to 15 million “only
       to please WWE, not because MBC felt the projections were realistic.”

       The employee said that WWE dropped their asking price for licensing to $50 million,
       which was still well above the $14.5 million that MBC felt was its upper limit. Negotiations
       ended there. WWE has yet to announce a new TV deal in the area despite informing
       investors that they planned to have the deal done by the end of 2019.


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relationship with the Company.

       95.     Warkman states that by 2018, OSN’s business was struggling, and the OSN board

of directors made the decision to shut down the network’s sport channels. Warkman was directed

to discuss early terminations and settlements with OSN’s sports rights holders, including the

WWE.

       96.     According to Warkman, on December 18, 2018, the Company and OSN entered

into a settlement agreement pursuant to which OSN and the Company agreed to the early

termination of their operative agreements effective March 31, 2019.

       97.     Thus, Defendants knew before February 2019, or were deliberately reckless in

disregarding, that there was no OSN media rights agreement to “renew”. Instead, the Company

would have to find a new media partner in the MENA region.

       98.     Nevertheless, on February 7, 2019, the Company assured investors that it was

“working on” the “rights renewal process” in international markets, including in the Middle East.

Defendant Barrios told the market the following on a February 7, 2019 earnings call: “In terms of

the rights renewal process outside the U.S., obviously, there’s a lot of key markets that we’re still

working on, U.K., India, China, Latin America, the Middle East. We’ll announce those as the deals

get done or shortly thereafter.”

       99.     By April 2019, the Company still had not informed the market that the media rights

deal with OSN had already been terminated by OSN, pursuant to a settlement reached in December

2018. Instead, when asked on an April 25, 2019 earnings call about “ongoing negotiations”

regarding the numerous media-rights deals that were then soon expiring, Defendant Barrios

explained that because the Company was “in the middle of these discussions” they would “stay

away from commenting on them in any way, shape or form”—again failing to disclose that there




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were, in fact, no negotiations ongoing with OSN in for media rights in the Middle East, because

that deal had been terminated months before its expiration.

       100.    In reality, and unbeknownst to the market, the Company tried to find a replacement

partner for the OSN agreement—which had already been canceled, effective March 31, 2019.

According to Nohra, after WWE and OSN agreed to terminate the OSN Media Rights Agreements

as of March 31, 2019, WWE entered into discussions with the Saudi General Sports Authority

and/or Saudi General Entertainment Authority (“GEA”) regarding a potential new exclusive media

rights agreement in the MENA region upon the termination of the OSN Media Rights Agreements.

According to Nohra, this potential new exclusive media rights agreement did not involve OSN in

any respect.

       101.    But Defendants knew all along, or were deliberately reckless in disregarding, that

negotiating a brand new agreement with a new provider, would take time, and would not be

completed by the end of 2019—as Defendants had assured the market.

       102.    It was not until July 2019 that Company announced that the agreement with OSN

had expired—i.e., three months after the deal was terminated and seven months after Defendants

knew the deal would end. Indeed, on July 25, 2019, during the Company’s second-quarter 2019

earnings call, Defendant Barrios stated: “In the Middle East, are [sic] [our] pay TV agreement has

been terminated, but our free-to-air agreement continues to be in place.” Although Defendants

knew as early as December 2018 that the deal would not be renewed, this was the first time

Defendants disclosed that a new MENA media rights deal would be needed.

       103.    Defendants softened the impact of this news, and artificially maintained the price

of the stock, with their simultaneous disclosure that the Company remained on-track to hit its full-

year 2019 guidance, including Adjusted OIBDA of $200 million. When discussing its full-year




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guidance on the July 25, 2019 call, Defendant Barrios stated “This guidance assumes continued

improvement in our engagement metrics, a second large-scale event in the MENA region and the

completion of a media rights deal in the MENA region. We believe we have agreements in

principles with the Saudi – in principle with the Saudi General Sports Authority on the broad terms

for the latter 2 items.”

        104.    On the same call, Defendants also announced that they had completed certain other

international media rights agreements that were up for renewal, and Defendant V. McMahon

assured investors that the MENA deal would get done “very soon”: “We have completed our

content distribution agreements in BT Sport in the U.K., Latin America Fox Sports, and in China,

PP Sports. We’re excited about that. Excited we can influence or they can influence as well, the

ability to do localized content in addition to enhance the content that they currently have in a more

in-depth capacity. And importantly, it’s another way and a deeper way of reaching our audience

and a new audience as well. Obviously, there’s India and MENA to do, and we are going to be

close to announcing those deals very soon.”

        105.    Although the Company finally disclosed on the July 25, 2019 earnings call that the

Company’s existing media-rights agreement in the MENA region had terminated, the Company

also assured the market that a new deal would get done “very soon,” which they claimed would

allow the Company to meet its full-year 2019 guidance. The October 31, 2019 event, held just

hours after the Company’s earnings call in connection with its third-quarter 2019 financial results,

ignited controversy. After the event, numerous media reports emerged claiming that the Saudi

government effectively detained a number of WWE wrestlers for approximately six (6) hours,

refusing to let them leave on a plane that was scheduled to depart back to the United States. The

Company claimed that it was the result of a “mechanical issue.”




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        106.       News outlets reported that the flight delay was actually the result of a dispute

between the Company and the Saudi government.             Sports Illustrated reported, for instance:

“WWE said the delay was ‘due to several aircraft problems including mechanical issues.’ Dave

Meltzer reported Friday morning on his Wrestling Observer Radio show, however, that the holdup

was not due to weather or a mechanical issue with the plane. Meltzer added on Twitter that ‘WWE

had a problem in Saudi Arabia.’”21

        107.       A wrestling-focused website further detailed the growing tensions that led to the

flight incident:

        According to [WWE Spanish commentator Hugo Savinovich], WWE was owed
        millions of dollars for two of the shows that the company held in Saudi Arabia (h/t
        to WrestlingNews.co). He said that the amount could be between $300 to $500
        million, which sounds insanely high as WWE is estimated to generate $40 - $50
        million per event in Saudi Arabia.

        Savinovich said that Vince McMahon retaliated by cutting off the Crown Jewel live
        TV feed in Saudi Arabia. Savinovich said that The Crown Prince was so upset
        about the feed being cut off that he ordered the WWE talent to be taken off of the
        plane right before the flight was scheduled to take off. Savinovich asserted that this
        was not a hearsay rumor, and that he heard this from someone with direct
        knowledge of the situation.

        WWE Co-President George Barrios revealed on last Thursday’s Q3 earnings call
        that the company received a $60 million payment “for an outstanding receivable”
        at the end of the quarter, although he did not provide specifics on where the payment
        came from. Crown Jewel also reportedly started nearly an hour later on the MBC
        Action network in Saudi Arabia than scheduled. 22

        108.       The article also discussed a revelation Defendant Barrios made during the October

31, 2019 earnings call, held in connection with the Company’s third-quarter 2019 earnings


21
       Dan Gartland, WWE Plane Held in Saudi Arabia, Many Wrestlers to Miss ‘Smackdown,’ SPORTS
ILLUSTRATED, dated Nov. 1, 2019 at https://www.si.com/wrestling/2019/11/01/wwe-smackdown-
plane-delay-saudi-arabia (last visited June 18, 2020).
22
       Raj Giri, Rumor On Why WWE Talent Were Kept Stranded In Saudi Arabia,
WRESTLINGINC.COM, dated Nov. 2, 2019 at https://www.wrestlinginc.com/news/2019/11/rumor-on-
why-wwe-talent-were-kept-stranded-in-saudi-arabia-661659/ (last visited June 18, 2020).



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announcement, when he noted that “subsequent to quarter end, we received a $60 million payment

for an outstanding receivable that would have resulted in year-over-year cash flow growth and

positive free cash flow in the period had it been received during the quarter.”

       109.    Though Defendant Barrios did not specifically tie this payment as coming from the

Saudi government, news reports speculated that this reflected a delayed payment from the Saudi

government that was supposed to be paid during the third quarter, but came in late—at some point

between the close of the third quarter on September 30, 2019 and October 31, 2019, the day of the

Crown Jewel event.23

       110.    Defendant Barrios’s statements on the Company’s July 25, 2019 earnings call

confirm that, at the time, the Company expected to have received this payment during the third-

quarter 2019. Defendant Barrios stated that “because of the timing” of the June 7, 2019 event

(which occurred late in the second quarter) the Company “expect[e]d to collect [payment] in the

third quarter.” However, as Defendant Barrios admitted on October 31, 2019 (and was later

confirmed by the Company’s Chief Accounting Officer), this payment did not come in until after

the close of the third-quarter 2019—i.e., it was paid after it was expected to be received.

       111.    Mark Kowal is Senior Vice President, Finance and Chief Accounting Officer of the

Company. He oversees the corporate accounting for payments the Company receives from the

Kingdom of Saudi Arabia for events held in the country. Kowal stated that the Saudi government

paid approximately $6.5 million of reimbursable costs associated with the two events held in 2018

(the Greatest Royal Rumble on April 27, 2018 and the Crown Jewel held on November 2, 2018)

after the close of 2018.


23
       Richard Morgan, Saudi Arabia finally pays WWE for ‘Crown Jewel’ broadcasts N.Y. POST, dated
Nov. 4, 2019 at https://nypost.com/2019/11/04/saudi-arabia-finally-pays-wwe-for-crown-jewel-
broadcasts/ (last visited June 18, 2020).



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       112.    With respect to the June 7, 2019 Super ShowDown, Kowal confirmed that the Saudi

government paid $60 million owed for that event after the close of the third-quarter 2019. This

date was later than the Company told investors on July 25, 2019 it expected the payment. In

addition, Kowal stated that an additional $1.9 million owed in connection with the June 7, 2019

event was paid even after the October 31, 2019 Crown Jewel event. Kowal also stated that $2.4

million is still owed to the Company as of May 13, 2020, in connection with the October 31, 2019

Crown Jewel event.

       113.    Social media posts by other wrestlers also revealed frustration about being detained

in Saudi Arabia post-event, while other more prominent wrestlers were allowed to leave. For

example, Joe Hennig wrote on Twitter, “Not the #Top20? [middle finger emoji] I’m #1 at home!

We don’t leave each other behind. @WWE.” Brodie Lee wrote on an Instagram post, “Larry, I’m

home. I guess I didn’t want it enough to pay for my own charter, but I’m home now. #NotTop20.”

Several other WWE stars commented on the post, expressing their distaste with the Company’s

handling of the situation. Even, AEW World Champion Chris Jericho responded: “Shame on you

lazy embarrassments to the company . . . Glad everybody made it home safely!” 24

       114.    On January 30, 2020, the Company announced that it “expects its full year 2019

Adjusted OIBDA to be approximately $180 million”—meaning the Company informed the market

that its full-year 2019 Adjusted OIBDA would not include the impact of a completed MENA

region media rights deal. 25

       115.    That same day, the Company also announced that two of its most senior and longest


24
         Joshua Gagnon, WWE Stars Venting On Social Media Over WWE’s Statement About Saudi Arabia
Delays,          WRESTLINGINC.COM,             dated         Nov.         3,         2019       at
https://www.wrestlinginc.com/news/2019/11/wwe-stars-venting-on-social-media-over-wwe-statement-
about-661671/ (last visited June 18, 2020).
25
         WWE® ANNOUNCES MANAGEMENT TRANSITION, dated Jan. 30, 2020 at
https://corporate.wwe.com/news/company-news/2020/01-30-2020 (last visited June 18, 2020).


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serving executives, Defendants Barrios and Wilson, had abruptly left the Company. Id. Analysts

and market commentators reacted with shock at the sudden loss of two key figures who had been

part of the public face of the Company. For instance, Forbes described the departures as a

“bloodbath” that had caused “[p]anic and uncertainty” throughout the Company’s corporate

offices.26

        116.    On February 6, 2020, the Company announced its disappointing financial results

and lower-than-expected full-year 2020 guidance. The earnings release issued by the Company

revealed that consumer engagement metrics had continued to deteriorate in the fourth quarter, and

that the Company had achieved just $180 million in adjusted OIBDA for the year due to the failure

to complete the MENA distribution agreement with the Saudis. On an earnings call to discuss its

results, Defendant Riddick confirmed that the Company’s 2020 financial guidance did not include

any revenues related to a prospective MENA deal since the deal had not been finalized and

continued delay was expected.

        117.    Defendants acknowledged that the Company’s full-year 2020 financial projections

presumed that a media-rights agreement with the Saudi government would not be completed at all

in 2020.

        118.    Since February 2020 it is believed that the Saudi government has little incentive to

enter into a media-rights agreement with the Company because                 the Saudi government is

purportedly backing a local pirate television and streaming service. 27

        119.    A report by the World Trade Organization (“WTO”) has recently surfaced that


26
        WWE’s Stock Implodes Amid Barrios And Wilson Firings, ‘Uncomfortable’ Vibe In Stamford,
Forbes at https://www.forbes.com/sites/alfredkonuwa/2020/01/31/wwes-stock-implodes-amid-barrios-
and-wilson-firings-uncomfortable-vibe-in-stamford/#41ed5bbf1e18 (last visited June 18, 2020).
27
        Mark Sweney, Saudi Arabia criticised over pirate TV service 'that airs Premier League', dated Jan.
27, 2020 at https://www.theguardian.com/media/2020/jan/27/saudi-arabia-pirate-tv-premier-league-eu-
beoutq (last visited June 19, 2020).


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“firmly establishes that the Saudi government is behind beoutQ,” which is a “pirate satellite TV

and streaming service that offers illegal access to sporting events.”28 Since its inception in 2017,

BeoutQ illegally transmitted at least “ten encrypted channels via the Riyadh-based satellite

provider Arabsat and [sold] set-top boxes across Saudi Arabia and other Arab-speaking

countries.”29 The stolen content on these channels “included all the major international football

competitions, as well as other major international sports, such as Tennis, NFL, NBA, Formula 1,

Olympics, and WWE.”30

        120.    In the past few years, numerous complaints and criticisms have been lodged about

beoutQ and the Saudi government by, for example, the Qatari company beIN MEDIA Group, the

European Union, BBC, Sky Sports, Fifa, Uefa, and the Premier League, for the stolen content. 31

                          THE COMPANY’S PUBLIC STATEMENTS

        121.    Plaintiffs allege that the statements below were materially false and misleading

because they omitted to disclose material information of which Defendants were aware or were

reckless in not knowing.      As alleged herein, such statements artificially inflated or artificially

maintained the price of WWE securities and operated as a deceit on the Company in connection

with the share repurchases that Defendants caused the Company to engage in during the time


28
         Sean Ingle, Newcastle takeover in serious doubt as WTO rules pirate TV channel is Saudi, THE
GUARDIAN, dated May 26, 2020 at https://www.theguardian.com/football/2020/may/26/newcastle-
takeover-in-serious-doubt-as-wto-rules-pirate-tv-channel-is-saudi (last visited June 18, 2020).
 29
         Sam Carp, Walking the plank: Why the BeIN-BeoutQ piracy saga has implications beyond Qatar,
 SPORTSPROINSIDER.COM, dated Dec. 14, 2018 at https://www.sportspromedia.com/from-the-
 magazine/bein-sports-beoutq-piracy-qatar-saudi-arabia-interview-feature (last visited June 18, 2020).
30
         Paul Nichoson, Saudis lose first round of beoutQ battle at WTO after EU and China speak against,
Inside World Football, dated Dec. 19, 2018 at http://www.insideworldfootball.com/2018/12/19/saudis-
lose-first-round-beoutq-battle-wto-eu-china-speak/ (last visited June 18, 2020).
31
         While beoutQ was apparently shut down in August 2019, beIN Media claimed that the piracy
service was “still distributing premium channels illegally via the IPTV function of its boxes,” and there
“is     little   optimism      for    this    being     the     end    of     the     service.”        See
https://www.digitaltveurope.com/2019/11/08/bein-slams-persistent-beoutq-piracy-menace/ (last visited
June 18, 2020).



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period in issue.    Because Defendants chose to speak on the issues described herein, it was

important that they not mislead or withhold material information. As described below, Defendants

created an impression of a state of affairs at the Company that differed in a material way from the

one that actually existed.

        122.    On February 7, 2019, the Company issued a press release announcing its fourth

quarter and fiscal 2018 (“4Q18” and “FY18”) financial results for the period ended December 31,

2018 and providing fiscal year 2019 (“FY19”) financial guidance. The press release stated that

during FY18, the Company had successfully “[p]roduced new, large-scale international events

(Greatest Royal Rumble, Crown Jewel, and Super ShowDown) and compelling content across

platforms.” The press release also stated that the Company expected to achieve “Adjusted OIBDA

of at least $200 million” for the year, stating:

        Financial Outlook 2019

        In 2019, WWE management expects the Company to achieve another year of
        record revenue of approximately $1.0 billion and, as previously communicated, is
        targeting Adjusted OIBDA of at least $200 million, which would also be an all-
        time record (up at least 12% from Adjusted OIBDA of $178.9 million in 2018)

        Management believes that increasing fan engagement over the next few years can
        enhance WWE’s brand value and strengthen the Company’s ability to optimize the
        value of its content over the long-term. Given the potential magnitude of this
        opportunity and its importance to long-term growth, the Company plans to
        continue to invest in content, digitization and international development.

                                           *       *    *

        Achieving the targeted range of full year results assumes substantial revenue, which
        supports Adjusted OIBDA of at least $100 million in the fourth quarter. (Footnote
        omitted.)

        123.    On February 7, 2019, the Company held a conference call with analysts, media

representatives and investors to discuss the Company’s 4Q18 results. During the earnings call,

which Defendants V. McMahon, Wilson and Barrios participated in, Defendant V. McMahon



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stated: “Our international revenue surpassed $300 million for the first time in history . . . [as] we

performed large-scale record-breaking events, [including] Greatest Royal Rumble.”

       124.    On the call, Defendant Barrios tied the $200 million adjusted OIBDA guidance to

the Company’s continued success and efforts in the Middle East region. Defendant Barrios stated:

       So if we’re moving revenue at a faster clip than we anticipate, we may put some
       additional investments in the fourth quarter but all geared towards hitting that $200
       million in OIBDA for the year.

       And as we talked about in the prepared remarks, it really is on those areas of
       continuing to drive content, especially the localization of our current content and
       potentially local content in some of our key international markets.

       We just think that’s a big addition to the flywheel that we’ve built. We’ll continue
       to invest in digital products and digitization kind of writ large, the network being
       kind of one of the largest manifestations of that. And we’ll continue to put more
       people, more kind of functional roles in our key markets, in India, in the Middle
       East, in China, in Latin America. So that’s what we’re going to do. As we said
       again in the prepared remarks, we think there’s a long tail for us in the
       monetization of content, both in the U.S. and outside the US. And we think the
       opportunity is one we want to make sure we take advantage of.

       In terms of the rights renewal process outside the U.S., obviously, there’s a lot of
       key markets that we’re still working on, U.K., India, China, Latin America, the
       Middle East. We’ll announce those as the deals get done or shortly thereafter.

       125.    On the call, Defendant Barrios also added that “we’ll continue to focus on

determining our distribution strategy in various international markets, and we expect to

complete this work and provide additional perspective on our plans towards the first – end of

the first half of 2019.”

       126.    Also, on the call Defendant Barrios stated in reference to the “rights renewal

process,” “it’s fair to say that all the agreements will be completed substantively by the middle

of the year, and so we’ll announce those as they get done. We’re not going to put a specific date

on any one agreement at this point.”

       127.    In addition, Defendant Barrios stated: “We do want to get the international



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renewals completed.” Defendant Barrios also stated:

       Yes, I’m going to stay away from your question on free cash flow conversion. I
       think there’s some things we need to lock down before we can comment on that.
       We do want to get the international renewals completed. We want to have a little
       bit more visibility on our workplace strategy, the timing of that. So we’ll stay away
       from that.

       I also will say, we have, when you look at our cash flow annually, there are timing
       elements around that. I tend to, myself, look at a 2- or 3-year average to smooth
       out, especially the working capital changes. But we’re not going to peg a specific
       conversion number at this point for the reasons I mentioned.

       128.    On February 7, 2019, the Company also filed its FY18 Annual Report on Form 10-

K with the SEC (“FY18 10-K”), which was signed by Defendants V. McMahon, S. McMahon,

Levesque, Wilson, Goldfarb, Ong, Peterson, Riddick, Singh, Wexler and Barrios. Defendants V.

McMahon and Barrios also certified the accuracy of the report pursuant to the Sarbanes Oxley Act

of 2002. The FY18 10-K emphasized the continuing importance of the Company’s Saudi business

dealings, stating as follows:

       Customers

       Our customers include content distributors of our media content through their
       networks and platforms, fans who purchase tickets to our live events, purchase our
       merchandise at venues or online through our eCommerce platforms and subscribers
       to WWE Network, advertisers and sponsors, consumer product licensees, and film
       distributors/buyers. As noted elsewhere, we have several important partners,
       including NBCU who carries the domestic television distribution of Raw and, until
       October 2019, SmackDown Live, the Fox Network which beginning October 2019
       will begin distributing SmackDown Live, and the General Sports Authority of the
       Kingdom of Saudi Arabia who, among other things, hosts our live events in the
       Middle East.

       129.    In addition, the FY18 10-K highlighted the importance of the Saudi relationship,

reporting that “[i]n 2018, WWE embarked on an important long-term partnership with the General

Sports Authority of the Kingdom of Saudi Arabia for, among other things, a series of live events

in that region.” It also stated that WWE had “an important partnership with the General Sports




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Authority of the Kingdom of Saudi Arabia” that was then “expected to continue to constitute a

significant percentage of [WWE’s] revenues.”

       130.    In the FY18 10-K, the Company also identified the following relevant risk factors:

       Our failure to maintain or renew key agreements could adversely affect our
       ability to distribute our media content, WWE Network, our films and/or other of
       our goods and services, which could adversely affect our operating results.

       Our media content is distributed by cable, satellite and broadcast television
       networks and digital platforms around the globe. As detailed below, we depend on
       third parties for many aspects of the operation and distribution of WWE Network.
       Our films are generally also distributed by other, more established film companies.
       Because a large portion of our revenues are generated, directly and indirectly,
       from this distribution, any failure to maintain (such as due to a breach or alleged
       breach by either party) or renew arrangements with distributors and platforms, the
       failure of distributors or platforms to continue to provide services to us or the failure
       to enter into new distribution opportunities on terms favorable to us could adversely
       affect our financial outlook, liquidity, business and operating results. We
       regularly engage in negotiations relating to substantial agreements covering the
       distribution of our media content by carriers located in the United States and
       abroad. We have a substantial relationship with NBCU as they distribute the vast
       majority of our television programming domestically through their cable networks.

       As previously announced, we have reached an agreement under which beginning
       October 2019, the domestic distribution of our program, SmackDown Live, will
       move to broadcast television on the Fox Network. Raw will continue to be carried
       by NBCU on USA Network. We also have an important partnership with the
       General Sports Authority of the Kingdom of Saudi Arabia. These relationships are
       expected to continue to constitute a significant percentage of our revenues. The
       number of subscribers and ratings of television networks and advertising revenues
       in general have been reported as being impacted by viewers moving to alternative
       media content providers, a process known as “cord cutting” and “cord shaving”.
       Many well-funded digital companies have been competing with the traditional
       television business model and, while it has been widely reported that they are
       paying significant amounts for media content, it is not clear that these digital
       distributors will replace the importance (in terms of money paid for content, viewer
       penetration and other factors) of television distribution to media content owners
       such as WWE. We have significant relationships outside the United States with
       distributors nearing the end of their terms, including in the United Kingdom,
       India, Latin America and the Middle East. Many of our other goods and services,
       such as our toys, video games and home video offerings are manufactured and sold
       by other parties under licenses of our intellectual property or distribution
       agreements. Our inability for any of the reasons set forth in these Risk Factors to




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        maintain and/or renew or replace these agreements on terms favorable to us could
        adversely affect our financial outlook, liquidity, business and/or operating results.

        131.    As a result of Defendants’ misrepresentations and omissions, the Company’s stock

price was artificially inflated. Further, Defendants’ statements drove the price of the Company’s

shares up $2.31 per share, or about 2.77%, to close at $85.82 per share on February 8, 2019.

Defendants’ above referenced statements were materially false and/or misleading when made in

that they failed to disclose that:

                (a)     OSN had informed the Company in November 2018 that it would not renew

        its media rights agreement and the parties had entered into a settlement dated December

        18, 2018 formally terminating the contract effective March 31, 2019, meaning the renewal

        of that particular media agreement for distribution of the Company’s content in its key

        MENA market was impossible, and forcing the Company to seek a new media partner for

        distribution of its content in the Middle East, which put in serious jeopardy the ability to

        finalize a media-rights agreement for the MENA region by the end of 2019;

                (b)     the Company’s relationship with the Saudi government was under stress as

        a result of controversy the Company faced for holding events in the country, as well as

        because the Saudi government had failed to make all payments owed to the Company in a

        timely manner in connection with those events; and

                (c)     as a result of the foregoing, Defendants’ public statements were materially

        false and misleading at all relevant times.

        132.    Analysts at Wolfe Research stated in a February 7, 2019 report that the Company

had a “Heckuva Q4 beat, but the read-thru on 2020 is what gets us excited.” The Wolfe Research

report also noted that “[t]he Saudi deal is proving to be an Intercontinental champ,“ with “Rev.,

OIBDA, and EPS beat across the board . . . thanks to a Saudi partnership that has more juice than



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we imagined.” In addition, analysts at MKM Partners stated: “Outperformance came almost

entirely from the Media segment and likely reflected the positive impact associated with the Crown

Jewel PPV event, which was held in Saudi Arabia as well as modest upside from TV rights.”

February 26, 2019 – Company Conference Presentation

       133.    On February 26, 2019, Defendant Barrios presented to investors at the Morgan

Stanley Technology, Media & Telecom Conference.              Defendant Barrios stated that the

negotiations on the MENA distribution rights deal were “ongoing,” with a target to “get that

locked down by the middle of the year.” Defendant Barrios also stated that the “Middle East is

now #2 in 2018 after the U.S.” in terms of gross monetization and that (referring to media-rights

agreements) “locking those down [is] obviously, important for us strategically because our

distribution partners for the core content is a key part of the value creation for the business,

important for us financially. We’ll have a lot of visibility over the next several years for a pretty

significant portion of our revenue, so really important.”

       134.    In response to a question from an analyst from Morgan Stanley about wrapping up

negotiations on outstanding media rights deals and whether those deals would contribute revenue

as soon as 4Q19, Defendant Barrios confirmed they would:

       Benjamin Daniel Swinburne, Morgan Stanley, Research Division

       Yes, and then just to wrap up on this – on the rights front. Once we get all these
       deals done, revenue will step up nicely in '20 and in the fourth quarter this year.
       These projects that you’ve got going on are stuff that you guys are making
       determinations that are worth spending money on.

       George A. Barrios, Co-President & Director

       That’s right

                                          *      *       *

       Benjamin Daniel Swinburne, Morgan Stanley, Research Division



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       Okay. We’re out of time. George, good luck with all the international renewals.
       I’m sure they’ll visit.

       George A. Barrios, Co-President & Director

       Great. Guys, thank you.

       135.    Defendants’ statements above contained in ¶¶ 122-130, 133, 134 were materially

false and/or misleading for the same reasons set forth in ¶ 131.

April 25, 2019 – 1Q19 Financial Results

       136.    On April 25, 2019, the Company reported disappointing first quarter 2019 (“1Q19”)

financial results, revealing that revenues had fallen year over year on notable declines in the live

events and consumer products segments.

       137.    The Company announced lower than expected guidance for its second quarter of

2019 (“2Q19”). A press release issued that day stated as follows: “For the second quarter 2019,

the Company estimates Adjusted OIBDA of $19 million to $24 million.” This range was below

analysts’ consensus estimates of $40 million.

       138.    The Company blamed the absence of certain “Super Stars” for its poor performance

that quarter, but the market later determined that the disappointing results and guidance were

connected to potential delays in scheduling a live event in Saudi Arabia. The Company also

revealed a $24 million uptick in accounts receivables, which it claimed reflected the ordinary

timing of different events.

       139.    Defendants continued to conceal the full truth. Defendants claimed that the weak

second quarter guidance was the result of “the timing of strategic investments,” and affirmed the

Company’s FY19 financial guidance, specifically with respect to the Adjusted OIBDA projection

of “at least $200 million,” which was dependent on the renewal of key international media-rights




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agreement, including the OSN agreement. An April 25, 2019 press release stated as follows:

       Second Quarter 2019 Business Outlook

       For the second quarter 2019, the Company estimates Adjusted OIBDA of $19
       million to $24 million. This range of results represents a year-over-year decline
       in Adjusted OIBDA driven by increases in fixed costs, including the timing of
       strategic investments.

       Financial Outlook 2019

       In 2019, WWE management is targeting another year of record revenue of
       approximately $1.0 billion and, as previously communicated, Adjusted OIBDA
       of at least $200 million, which would also be an all-time record (up at least 12%
       from Adjusted OIBDA of $178.9 million in 2018).

       Achieving the targeted range of full year results assumes substantial revenue,
       which supports Adjusted OIBDA of at least $100 million in the fourth quarter.

       140.   Also, this same press release included the following note in connection with its

2Q19 and FY19 guidance:

       The Company’s business model and expected results (including our outlook for
       the second quarter and rest of 2019) will continue to be subject to significant
       execution and other risks, including risks relating to entering into, maintaining
       and/ or renewing key agreements, uncertainties associated with international
       markets and risks inherent in large live events, and the other risks outlined in the
       Company’s Form 10-K filing with the SEC.

       141.   On April 25, 2019, the Company held a conference call with analysts, media

representatives and investors to discuss its 1Q19 results. During the earnings call, which

Defendants V. McMahon, Wilson and Barrios participated in, Defendants failed to detail how

much revenue the Company would earn from the deal with the Saudis in 2019. In response to a

question from an analyst from Needham & Company about clarity on the deal with Saudi Arabia,

Defendant Barrios failed to disclose that the media rights deal with the OSN had been terminated

and the Company had no media rights partnership in the MENA region at the time. Further,

Defendant Barrios failed to disclose details about whether and when the Company would host a




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live event in Saudi Arabia.

        Laura Anne Martin, Needham & Company, LLC, Research Division

        And we do know you have – And we do know you have to do a Saudi deal this
        year, presumably you won’t wait till the fourth quarter. So it’s either in Ben’s
        quarter in Q2 or in my quarter in Q3, right? It’s got to be one of those 2 and that
        adds a bunch, right?

        George A. Barrios, Co-President & Director

        Yes. So we’re not going to talk about that, again, so you know, our guide
        obviously reflects the best assumptions, the best knowledge we have right now.

        Laura Anne Martin, Needham & Company, LLC, Research Division

        Okay. And there’s no other thing you’d cadence or anything you can point to in Q3
        that would help us, right?

        George A. Barrios, Co-President & Director

        Nothing specific, no.

        142.   In addition, Defendants continued to conceal that the OSN media-rights agreement

had expired on March 31, 2019, pursuant to a settlement the Company and OSN reached on

December 18, 2018—which maintained the artificial inflation in the price of the Company

securities.

        143.   When asked during the associated April 25, 2019 earnings conference call about

the ongoing negotiations over the Company’s international media rights agreements, including the

OSN agreement, Defendant Barrios stated: “[G]iven that we’re in the middle of these discussions,

we’re going to stay away on commenting on them in any way, shape or form.”

        144.   During the call, Defendant Barrios also assured the market that it expected to

finalize the Company’s international media-rights agreements, including for the MENA region,

during 2019, and that doing so would allow the Company to achieve year-over-year growth in

2020. Defendant Barrios stated: “We continue to expect strong year-over-year growth in 2020.



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As you know, we’re in the process of finalizing our distribution plans for Raw and SmackDown

in several international markets. We expect to finalize these plans later this year and once we

have done that and added visibility for 2020 and the rest of our business, we’ll provide additional

perspective on our strategy, key initiatives, 2020 financial expectations as well as a longer-term

financial model.”

       145.    On this news, the Company’s stock price fell $13.12 per share, or 13.31%, to close

at $85.38 per share on April 25, 2019.

       146.    Defendants’ statements above contained in ¶¶ 139-144 were materially false and/or

misleading for the same reasons set forth in ¶ 131.

May 14, 2019 – Company Conference Presentation

       147.    On May 14, 2019, Defendant Barrios presented to investors at the J.P. Morgan

Global Technology, Media and Communications Conference, and in response to a question about

the pending international media rights agreements, stated: “obviously, there – we are in

discussions in multiple markets around the world, so I don't want to characterize any 1

discussion.”

       148.    Defendant Barrios’ statement contained in ¶ 147 was materially false and/or

misleading for the same reasons set forth in ¶ 131.

June 26, 2019 – Company Conference Presentation

       149.    On June 26,2019, Senior Vice President of Investor Relations Michael Weitz

presented to investors at the 6th Annual Bernstein Future of Media Summit Conference, stating

that the media deal in the Middle East is an “important deal[],” and while not completed, he touted

that “there are elements to those that we feel really good about.” He stated in pertinent part:

       We’ve also been very public that there’s another series of deals that are important
       to us right now. So we – just to answer your question about kind of what’s around



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       the corner. The deals that we talked about U.K., India, China, Latin America and
       the Middle East. And so we put out some releases over the past 2 weeks that we’ve
       been successful in completing deals in the U.K., we’ve been successful in
       completing it in Latin America, and we’ve been successful, whom am I missing, in
       China. So those are the 3. So there’s still a few to go, India, in particular, and the
       Middle East, in particular. And by the way, next – somewhere down the path will
       be Germany. So those are coming and important deals for us. So we’re not going
       to talk terms, but there’s really interesting elements of those that become really
       important. The ability to expand reach through elements like free-to-air, the
       ability to offer – to commit our partners to localize content really important. That
       helps build the engagement. So the – so while I’m not talking about direct
       economic terms, there are elements to those that we feel really good about. So that’s
       that. So...

       150.    The statement Defendants caused WWE to make contained in ¶ 149 was materially

false and/or misleading for the same reasons set forth in ¶ 131.

July 25, 2019 – 2Q19 Financial Results

       151.    On July 25, 2019, the Company reported its financial results for 2Q19, ended June

30, 2019. The press release stated that “[d]uring the quarter, WWE continued to demonstrate

success in staging large-scale, action packed events for its fans, including . . . Super ShowDown

in Jeddah, Saudi Arabia.” The Super ShowDown event had occurred on June 7, 2019, and the

release touted the event as a major driver of the Company’s results and portrayed its successful

operations in Saudi Arabia as a pillar of its FY19 financial guidance. The press release stated:

       George Barrios, Co-President, added “In the quarter, our earnings exceeded
       guidance, however we anticipate a portion of this to reverse and we continue to
       target full-year Adjusted OIBDA of at least $200 million. The guidance
       presupposes the staging of a second large scale international event and the
       completion of a media rights deal in the MENA region. As we optimize near-term
       results, we will continue to focus on content creation, localization and digitization,
       including the evolution of our direct-to-consumer network, to drive long-term
       growth.”

       Second-Quarter Consolidated Results

                                         *       *       *




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       Adjusted OIBDA (which excludes stock compensation) was $34.6 million as
       compared to $43.5 million and the Company’s Adjusted OIBDA margin was 13%
       as compared to 15% in the prior year quarter, respectively. The current period
       results exceeded guidance primarily due to enhanced revenue recognized in
       conjunction with the Company’s recent event in Saudi Arabia, which is expected
       to reverse in connection with an anticipated fourth quarter event in that country.

                                         *       *       *

       Cash flows used in operating activities were $7.6 million as compared to $74.2
       million of cash generated in the prior year quarter driven by unfavorable changes
       in working capital, which was primarily related to the timing of the Saudi event
       in June as the prior year event was held in April, as well as lower operating
       performance.

       152.    The Company press release also stated that the Company had reached non-binding

“agreements in principle with the Saudi General Sports Authority on the broad terms” for a second

large scale live event and a media rights deal for the MENA region. It stated:

       Financial Outlook 2019

       The Company reiterated its full year guidance, which targets revenue of
       approximately $1 billion and Adjusted OIBDA of at least $200 million. This
       guidance assumes continued improvement in WWE’s engagement metrics, a
       second large scale event in the MENA region, and the completion of a media
       rights deal in the MENA region. The Company believes it has agreements in
       principle with the Saudi General Sports Authority on the broad terms for the
       latter two items; however, this understanding is nonbinding. It is possible that either
       or both of these business developments do not occur on expected terms and/or that
       engagement does not improve as assumed. The Company has evaluated these
       potential outcomes and currently believes that the most likely downside to its
       Adjusted OIBDA would be approximately $10 million to $20 million below its
       current outlook.

       The Company’s full year guidance reflects strong fourth quarter results with
       substantial revenue growth from both the Company’s new content distribution
       agreements in the U.S., which become effective in that period, and the
       aforementioned media rights deal in the MENA region.

       153.    On July 25, 2019, the Company held a conference call with analysts, media

representatives and investors to discuss the Company’s 2Q19 results. During the earnings call,

which Defendants V. McMahon, Wilson and Barrios participated in, Defendant V. McMahon



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stated, with respect to the media-rights agreement in the Middle East: “Obviously, there’s India

and MENA to do, and we are going to be close to announcing those deals very soon.”

       154.    Also, Defendant Barrios stated that, “[d]uring the quarter, we achieved adjusted

OIBDA of $34.6 million, which exceeded our guidance, primarily due to enhanced revenue

recognized in conjunction with our recent event in Saudi Arabia. That enhanced revenue is

expected to reverse in connection with an anticipated fourth quarter event in that country.”

       155.    Defendant Wilson stated: “During the quarter, we continue[d] to successfully

stage large-scale events for our fans, including . . . Super ShowDown in Jeddah, Saudi Arabia.”

       156.    Defendant Barrios also spoke further as to the Company’s guidance and the positive

impact of the Saudi relationship, stating:

       For the full year, we continue to target record revenue of approximately $1 billion
       and adjusted OIBDA of at least $200 million. This guidance assumes continued
       improvement in our engagement metrics, a second large-scale event in the MENA
       region and the completion of a media rights deal in the MENA region. We believe
       we have agreements in principles with the Saudi – in principle with the Saudi
       General Sports Authority on the broad terms for the latter 2 items.

       However, this understanding is nonbinding. It is possible that either or both of these
       business developments do not occur on expected terms and/or the engagement does
       not improve as assumed. We valuated these potential outcomes and currently
       believe that [the] most likely downside to our adjusted OIBDA would be
       approximately $10 million to $20 million below our current outlook. Our full year
       guidance reflects strong fourth quarter results, substantial revenue growth from
       both our new content distribution agreements in the U.S. which become effective
       in that period, and the aforementioned media rights deal in the MENA region.

       As you know, we’re in the process of finalizing our distribution plans for Raw
       and SmackDown in 2 international markets, India and the Middle East. As we
       stated in our last earnings call, we expect to finalize these plans later this year.

       157.    Defendant Barrios also added that “[i]n the Middle East, our pay TV agreement has

been terminated, but our free-to-air agreement continues to be in place.”

       158.    In response to an analyst question regarding “what’s going on in Saudi Arabia under

the deal terms,” Defendant Barrios stated:


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       Yeah

       So we just had an event on June 7. That event was part of the 10-year agreement
       that we’ve signed. And Laura, what we’re saying is right now in our forecast, which
       is what suspends our guidance, our guidance is our internal forecast, we are
       assuming that we’ll do a second event in the region and that we will also complete
       a media rights deal in the region. And if those 2 comes to fruition, we believe we’ll
       hit our $200 million. And what we’re saying on the downside is, if some
       combination – obviously, it’s not the ultimate downside case, but our best estimate
       of a downside case, around either those developments not coming to fruition or the
       engagement not improving to the level we expect it to.

       We estimate the most likely downside at $10 million to $20 million. On the free
       cash flow side in the quarter, because of the timing of the event and the accounts
       receivable, our collection of that, because it happens so much later in the quarter.
       Last year, the MENA event happened on April 27. So we collected in the second
       quarter, so we didn't have an outstanding AR at the end of the quarter.

       At this time, we expect to collect in the third quarter, which is why you see that so
       you see that reverse.

       159.    As a result of Defendants’ misrepresentations and omissions, the Company’s stock

price was artificially inflated. Defendants’ statements drove the price of the Company’s shares up

$1.31 per share, or about 1.75%, to close at $75.99 per share on July 26, 2019.

       160.    Defendants’ statements contained in ¶¶ 151-158 were materially false and/or

misleading when made in that they failed to disclose that:

               (a)    the new media-rights agreement the Company purportedly began

       negotiating in 2019 with a different media company would not be completed in 2019;

               (b)    and the Company’s relationship with the Saudi government was under stress

       as a result of controversy the Company faced for holding events in the country, as well as

       because the Saudi government had failed to make all payments owed to the Company in a

       timely manner owed in connection with those events; and

               (c)    as a result of the foregoing, Defendants’ public statements were materially

       false and misleading at all relevant times.



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       161.       Analysts reacted positively to Defendants’ statements and their guidance. Analysts

at JP Morgan stated as follows in a July 25, 2019 report: “Overall, we view today’s commentary

and guidance positively.” The report continued: “we’re further encouraged to learn that the MENA

deal is being negotiated with the Saudi General Sports Authority, whose ten year partnership with

WWE clearly reflects interest in the content,” and also stated that the WWE’s “outlook is

dependent on a second Saudi event and media rights agreement covering the MENA region (for

which it has nonbinding understandings with the Saudi General Sports Authority).”

October 31, 2019 – 3Q19 Financial Results

       162.       On October 31, 2019, the Company issued a press release providing its third quarter

2019 (“3Q19”) financial results. The press release stated that the Company’s revenues and

operating income had continued to decline year over year to $186.3 million and $6.4 million,

respectively. The Company also announced that it was lowering its FY19 adjusted OIBDA

guidance to a range of $180 million to $190 million due in large part to the Company’s failure to

complete a MENA distribution agreement with the Saudis. The press release stated:

       The Company has modified its full year 2019 guidance to an Adjusted OIBDA
       range of $180 million to $190 million, which would be an all-time record. The
       change is attributable to the delay in completing a previously contemplated
       agreement in the MENA region and the impact of accelerated investment to
       support content creation. While the Company continues to work toward the
       completion of a MENA agreement, no assurances can be given in this regard. The
       Company expects to have clarity on this point in advance of providing guidance for
       2020.

       163.       On October 31, 2019, the Company held a conference call for analysts, media

representatives and investors to discuss its 3Q19 results.        During the earnings call, which

Defendants Wilson and Barrios participated in, Defendant Barrios reiterated that the new media

rights agreement for the MENA region, announced on July 25, 2019, has not yet been completed.

Barrios stated:



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       Our previous full year guidance, which targeted adjusted OIBDA of at least $200
       million, to continued improvement in our engagement metrics, second, large-
       scale event in the MENA region and the completion of a media rights deal in the
       MENA region. Although we are holding a second large-scale event today in
       Riyadh, Saudi Arabia, our previously contemplated agreement for the region has
       not yet been completed.

       Additionally, we’ve also accelerated investment to support the creation of our core
       In Ring content, while reducing or delaying other expenses to lessen the impact of
       that spending. Given these developments, we’ve modified our full year guidance
       to an adjusted OIBDA range of $180 million to $190 million.

       164.   On the call, Defendant Barrios reiterated that “no assurances” could be given that

the deal would ever be completed.

       165.   In response to a question regarding whether the lowered guidance was related to

the Saudi media deal, Defendant Barrios stated “we had anticipated the deal would have been

completed early in the quarter, it hasn’t” and “that has an impact on the guide.”

       David Karnovsky, JP Morgan Chase & Co, Research Division

       […] On the lower outlook for 2019, I think there’s been some confusion on the
       guide since you are holding the Crown Jewel event today. Can you bucket out the
       $10 million to $20 million between the Middle East deal, the performance of some
       areas that are more transactional and content investment? And then just on the
       pull forward of spend, can you just talk about where you're investing more in
       content now? […]

       George A. Barrios

       Yes. So we can’t bucket out within them. Giving a little bit more color, we had
       anticipated the deal would have been completed early in the quarter, it hasn’t. So
       that has an impact on the guide. And then as I mentioned, we brought forward
       some investments into our core In Ring content. As I said before, those investments
       really – or the production of that content really has 3 components. It has the creation
       of the storyline, second is attracting, developing and retaining talent, and then the
       third is the production elements that go into what our fans experience at the event
       and also what they watch on video. And so we accelerated some investments across
       all 3 of those core In Ring content elements.

       166.   In response to a question regarding whether the Saudi media deal was dead,

Defendant Barrios confirmed that “discussions are ongoing.”


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       Eric Isaac Katz, Wolfe Research, LLC

       Okay. And then, I know it was mentioned in the release and you kind of said it
       upfront on the call regarding the deal that no assurances can be given, and I know
       you can’t guarantee a deal, but I guess the last line about insurances didn’t
       necessarily need to be in there. So it sounds like to us, there’s a scenario where a
       deal might not get done, even though there’s an agreement in principle. So I guess
       maybe just trying to be clear on what are the sticking points that could potentially
       cause a deal to die, even though you have a 10-year partnership with the
       Kingdom?

       Defendant Barrios

       I think it’s like any other discussion you’re having with a partner, you’re trying
       to find a common ground that works for you. 3 months ago, we expected that
       deal to be finalized. As I characterized it now is discussions are ongoing. So
       I’ll leave it at that. I’m not sure there's much more I can add than that. But I
       would say it’s similar to all discussions, you’re just trying to find common
       ground.

       167.    On the call, Defendant Barrios added that “we never really talked about a timeline

on the MENA region so I’ll stay away from that.”

       168.    In addition, Defendant Barrios downplayed the payment issues with Saudi Arabia,

specifically the delayed payment of the Crown Jewel event, stating “Well, when the payment

happens is different. So that’s obviously on the cash flow side. So we haven’t guided – we don’t

guide the cash flow. But you’re right, the economics of the event, we expect to get reflected in

Q4.”

       169.    On this news, the Company’s stock price fell $10.40 per share, or 15.65%, to close

at $56.04 per share on October 31, 2019.

       170.    Defendants’ statements about contained in ¶¶ 162-168 were materially false and/or

misleading when made in that they failed to disclose that:

               (a)    the new media-rights agreement the Company began negotiating in 2019

       with a different media company owned would not be completed in 2019, nor was it




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       reasonable for the Company to believe it would be completed in 2020 given the

       circumstances present;

               (b)    the Company’s relationship with the Saudi government was under stress as

       a result of controversy the Company faced for holding events in the country as well as

       because the Saudi government had failed to make all payments owed to the Company in a

       timely manner in connection with those events; and

               (c)    as a result of the foregoing, Defendants’ public statements were materially

       false and misleading at all relevant times.

       171.    Analysts were collectively critical of the Company, especially regarding the MENA

deal, or lack thereof. For example, analysts at Wolfe Research stated as follows in an October 31,

2019 report:

       Well, that was frustrating. Again. We’re all in a tough spot because we have even
       less visibility into 2020 given the new overhang called MENA and the pull-
       forward of investment spend. We don’t necessarily think the lower 2019 guide
       has an impact on 2020 – but we got nothing to go on, hence the stock’s -16%
       reaction. What did we decide to do? Well, we lowered Q4 ’19 to $112MM vs. the
       $108-118MM guide – so we now sit at $185MM for 2019. We removed MENA
       from our 2020 and beyond – which took our revenue down by ~$15MM annually
       (~1%). We also took out a recurring 2nd Saudi event - ~$50MM in rev. and
       $20MM in OIBDA. And we left our underlying expenses relatively unchanged
       (excl. the removal of a 2nd Saudi event), at ~+3%y/y – recall that we incorporate
       ~+1% of regular opex and ~+2% of investment spend. This takes our ‘20
       EBITDA down to $439MM from $475MM – we remind you that before this call,
       Consensus was at $436MM.

       How much is MENA? The prior deal with OSN ended earlier in 2019, which we
       estimate was ~$9MM/yr. We were thinking that the new deal steps up 1.5x to
       around $15MM/yr, which would all be incremental at this p int. If we’re right,
       then ~$4MM of the Q4 miss is MENA-related.

November 4, 2019 – Press Release

       172.    On November 4, 2019, just days after the Crown Jewel live event in Riyadh, Saudi

Arabia, the Company issued a press release reporting that it had finalized a deal with the Saudi


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GEA to add a second live event each year throughout the duration of the 10-year agreement. The

press release also noted that “WWE and GEA also continue to work towards the completion of a

media agreement in the MENA region,” stating:

        Following the historic Crown Jewel event in Riyadh, WWE (NYSE: WWE) and
        the Saudi General Entertainment Authority (GEA) have expanded their live event
        partnership through 2027 to include a second annual large-scale event. WWE
        and GEA also continue to work towards the completion of a media agreement
        in the MENA region.

        This long-term partnership demonstrates WWE and GEA’s commitment to
        bring sports entertainment to the region and supports Saudi Arabia’s Vision
        2030.

       173.    As a result of Defendants’ misrepresentations and omissions, the Company’s stock

price was artificially inflated. Defendants’ statements drove the price of the Company’s shares up

$2.61 per share, or about 4.91%, to close at $55.77 per share on November 5, 2019.

       174.    Defendants’ statements contained in ¶ 172 were materially false and/or misleading

when made in that they failed to disclose that:

               (a)     the new media-rights agreement the Company began negotiating in 2019

       with a different media company owned would not be completed in 2019, nor was it

       reasonable for the Company to believe it would be completed in 2020 given the

       circumstances present;

               (b)     the Company’s relationship with the Saudi government was under stress as

       a result of controversy the Company faced for holding events in the country, as well as

       because the Saudi government had failed to make all payments owed to the Company in a

       timely manner owed in connection with those events;

               (c)     and the market believed the stress became more severe after the October 31,

       2019 Crown Jewel event, when, as reported in the press and on social media, Defendant V.




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       McMahon and the Crown Prince supposedly had a dispute about delayed payments and

       claims publicly aired that a number of WWE wrestlers and personnel had been detained

       for hours in Saudi Arabia following the event 32; and

               (d)     as a result of the foregoing, Defendants’ public statements were materially

       false and misleading at all relevant times.

December 9, 2019 – Company Conference Presentation

       175.    On December 9, 2019, Defendant Barrios presented to investors at the UBS Global

TMT Conference. During the conference and in response to an analyst question regarding

“international renewals,” Defendant Barrios continued to mislead the market about the prospects

of completing the Saudi media deal, stating that it was still “working through [the deal].”

        Unknown Analyst

        Last question I got is probably one of your favorites. Any updates on international
        renewals, India, Middle East? Or when do you expect to have an update?

        George A. Barrios

        Yes. I mean so we mentioned on the last call that we were working through
        those. So at this point, nothing really to update.

       176.    Defendant Barrios’ statements about contained in ¶ 175 were materially false

and/or misleading for the reasons set forth in ¶¶ 131, 174.

January 7, 2020 – Company Conference Presentation



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         Was Vince McMahon's Dispute With Crown Prince The Real Reason for WWE Flight Delay?, dated
Nov. 3, 2019 at https://ewrestling.com/article/was-vince-mcmahons-dispute-crown-prince-real-reason-
wwe-flight-delay (last visited June 19, 2020); see also Royal Rumble: Saudi crown prince ‘held WWE
wrestlers     hostage’ after $500          million   pay     dispute, dated Nov.       6,   2019     at
https://english.alaraby.co.uk/english/news/2019/11/6/saudi-crown-prince-mbs-held-wwe-wrestlers-
hostage (last visited June 19, 2020); WWE Chairman Vince McMahon’s issue with Crown Prince lead to
plane mishap in Saudi Arabia?, dated Nov. 6, 2019 at https://www.hindustantimes.com/other-sports/vince-
mcmahon-brock-lesnar-take-private-jet-leave-wwe-superstar-stranded-for-24-hours-at-saudi-arabia-
airport-report/story-opFwAs7EcijXncjaVp9PpO.html (last visited June 19, 2020).


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       177.    On January 7, 2020, Defendant Barrios presented to investors at the Citi 2020

Global TMT West Conference. During the conference, Defendant Barrios admitted that the

Company prematurely announced the near completion of a media rights deal with the Saudi

government in July 2019, stating in pertinent part:

        Yes. So – and probably the better way to describe it is, would be Middle East-North
        Africa rights, primarily for Raw and SmackDown. So we – which we’ve had agreements
        in that region, both free-to-air with MBC and Pay with OSN. In the second quarter, I
        believe we said when we confirmed or supported the guidance for full year 2019 was
        that one of the things that subtended that was our expectation of a new deal in the
        market. That didn’t come to fruition. So we talked about it in the third quarter that we
        continue to work with GSA on those rights. We think we'll get a deal then, but it didn’t
        come to fruition in the time frame that we thought.

       178.    Even at the time of this conference, analysts were still confused as to the various

deals the Company had in Saudi Arabia, requesting more details:

        Unknown Analyst

        Okay. But then that’s separate and apart from any sort of broadcast of live content in
        Saudi Arabia, it's a totally separate deal. Is that right?

        Defendant Barrios

        Well, we have 2 agreements for 2 events that we’ve been doing large events. Those have
        media elements to those. But separate and apart from that, there's the rights to the core
        content, which is Raw and SmackDown, and also the content that currently lives on
        WWE Network.

       179.    Defendant Barrios’ statements about contained in ¶¶ 177, 178 were materially false

and/or misleading for the reasons set forth in ¶¶ 131, 174.

January 30, 2020 – Defendants Barrios and Wilson Forced Out of Company

       180.    On January 30, 2020, WWE announced that two of its most senior and longest

serving executives, Defendants Barrios and Wilson, had abruptly left the Company. Analysts

and market commentators reacted with shock at the sudden loss of two key figures who had long

been part of the public face of the Company. For instance, Forbes described the departures as a



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“bloodbath” that had caused “[p]anic and uncertainty” throughout the Company’s corporate

offices.

           181.   In addition, the Company preannounced its 4Q19 results and revealed for the first

time that it “expects its full year 2019 Adjusted OIBDA to be approximately $180 million” which

was at the lower end of guidance of $180 million to $190 million provided by the Company on

October 31, 2019.

           182.   On this news, the Company’s stock price fell $13.42 per share, or 21.54%, to close

at $48.88 per share on January 31, 2020.

           183.   The full truth about the Company’s inability to secure a media rights deal with the

Saudi Arabian government and its effects on the Company’s revenues was not revealed until

February 6, 2020 when the Company issued a press release, reporting disappointing financial

results for 4Q19 and reduced guidance for full year 2020. The press release revealed that consumer

engagement metrics had continued to deteriorate in the fourth quarter, and that the Company had

achieved just $180 million in adjusted OIBDA for the year (which was preannounced a week prior)

due to the failure to complete the MENA distribution agreement with the Saudis. The press release

stated:

           “For the year, we achieved record revenue and Adjusted OIBDA. However, with
           the delay in completing a Middle East distribution agreement as well as lower
           business performance than anticipated, our results were at the low-end of
           guidance,” added Frank Riddick, interim Chief Financial Officer. “As we work
           to strengthen engagement in 2020, we are pursuing several strategic initiatives
           that could increase the monetization of our content, including the distribution of
           content in the Middle East and India as well as strategic alternatives for our
           direct-to-consumer service, WWE Network. Excluding the potential impact of
           these initiatives, we expect significant revenue growth based on the full year
           impact of our new content distribution agreements in the U.S. and anticipate
           Adjusted OIBDA of $250 to $300 million. Management believes it has the
           potential to exceed this range but is unable to provide additional guidance at this
           time.”




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       184.    Later in the day, the Company held a conference call with analysts, media

representatives and investors to discuss its results. During the earnings call, in which Defendants

V. McMahon and Riddick confirmed that the Company’s 2020 financial guidance did not include

any revenues related to a prospective MENA deal. When asked if “guidance for 2020 assumes . .

. 0 revenues associated with your rights -- TV rights or media rights in India and the Middle East,”

Defendant Riddick responded “Well, on MENA, you’re correct.”

       185.    When asked later in the call to confirm whether the MENA media-rights deal

assumptions were included in the 2020 guidance, Defendant Riddick confirmed that the MENA

deal was not included—and, thus, if the deal was completed in 2020, it would be an addition to

the projections: “Yes, we’re still pursuing those new agreements. And from our perspective, as

quickly as we can get them done, that’s what we’re aiming for. And I think, as I explained earlier,

the India rights are – we already have existing India rights and they are in the guidance because

we’re already doing, being paid under that arrangement. It would be the increment on India. But

yes, there’s – for MENA, it would be an addition to their guidance.”

       186.    Later in the call, an analyst asked: “[W]hat’s taking so long for the MENA and

India because we thought those were going to be done like early in ‘19. And is there – do we have

–will we be done by the end – will we be done with those deals by the end of the first quarter when

you’re going to give us this comprehensive overview of WWE, do you think?”

       187.    In response, with respect to the MENA deal, Defendant Riddick stated: “The

MENA rights, just the intricacies dealing with the Saudi Arabian government and their own

ways of going about and doing business, I think we don’t want to predict a specific date. But as

I said before, the uncertainty is around the timing and the amount, not that these deals will

eventually be done.”




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       188.   Also on the call, referring now to the Company’s 2019 performance, Defendant V.

McMahon stated: “our performance was at the low end of recent guidance as we work through

our Middle East distribution agreement and our ongoing efforts to strengthen our brand and

customer engagement.”

       189.   Finally, Defendant Riddick disclosed that the Company’s WWE Network

subscribers were down for 2019: “WWE Network’s average paid subscribers decreased 10% to

approximately 1.42 million . . . primarily by the impact of lower subscriber additions earlier in

the year.” This news reflected that the OSN deal had terminated earlier that year, meaning the

Company lost WWE Network subscribers who previously had accessed it for free as OSN

subscribers when the OSN deal was still in place.

       190.   On this news, the Company’s stock price fell another $4.50 per share, or 9.18%, to

close at $44.50 per share on February 6, 2020.

                               DEFENDANTS’ KNOWLEDGE

       191.   The following allegations support a strong inference of Defendants’ knowledge:

              (a)          Statements of current Company employees and others with knowledge

       corroborate that (i) the Company was informed in November 2018 that the media-rights

       agreement with OSN would not be renewed, requiring the Company to find a new partner

       to replace the OSN agreement, which put in serious jeopardy the ability to finalize a media-

       rights agreement for the MENA region by the end of 2019; (ii) the Company’s negotiations

       to find a new media-rights partner were not successful; (iii) the Saudi government had

       failed to make all payments on time; and (iv) the public reports of tensions between the

       Saudis and WWE;

              (b)          Expansion in the MENA region and the relationship with the Saudi




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        government was an extremely important part of the Company’s growth plans and

        Defendants spoke of it frequently;

               (c)         Certain Defendants’ stock sales were highly unusual and suspicious in

        timing and amounted to more than $280 million; and

               (d)         The abrupt departures of Defendants Barrios and Wilson.

        192.   Given the multitude of statements concerning expansion in the Middle East and

North Africa Region, the size and importance of the MENA region to the Company generally, and

the importance of the relationship with the Saudi government, it is unreasonable to think that

Defendants, who were also responsible for tracking and/or reporting the Company’s revenue by

region, would be unaware of the deteriorating conditions in the Company’s main relationships in

that region.

        193.   Defendants had told investors in 2018 that the Company expected to significantly

grow its revenues earned on media-rights agreements in its seven largest markets, including the

Middle East, over the next two years. On June 27, 2018, Defendants told investors that the

Company “expects [that] revenue from existing and new ‘key content agreements,’ . . . will grow

to approximately $311M in 2019 and $462M in 2021,” 33 and a related presentation disclosed that

the Company projected WWE’s “total revenue from ‘key content agreements’ [to] increase to

$314M in 2019 and $542M in 2021.”

        194.   Defendants therefore touted the importance of renewing and finalizing its media-

rights agreements in its largest markets, including the Middle East, and investors were heavily



33
        “WWE’s ‘key content agreements’ reflect the licensing of WWE’s flagship programs, Raw and
SmackDown in the U.S., U.K., India, Canada, LATAM, Middle East and South Africa.” June 27, 2018
Conference Call Presentation at https://corporate.wwe.com/~/media/Files/W/WWE/company-
new/2018/wwe-us-deals-and-outlook-presentation-06-27-18.pdf (last visited June 18, 2020).



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focused on it.

       195.      Defendants also spoke about the importance of the relationship with the Saudi

government and their ongoing negotiations to finalize a media rights agreement. In fact, on July

25, 2019, Defendants specifically tied the Company’s ability to meet its full-year 2019 guidance

to the Company’s negotiations with the Saudi government. A press release issued that day stated:

“The Company reiterated its full year guidance, which targets revenue of approximately $1 billion

and Adjusted OIBDA of at least $200 million. This guidance assumes continued improvement in

WWE’s engagement metrics, a second large scale event in the MENA region, and the completion

of a media rights deal in the MENA region. The Company believes it has agreements in principle

with the Saudi General Sports Authority on the broad terms for the latter two items.” Because the

Company’s full-year guidance depended on the outcome of these negotiations, Defendants had to

have been aware of the status of those discussions.

       196.      Finally, the financial success achieved in 2018 as a result of the Company’s 10-

year partnership with the Saudi government meant that the relationship was critical to the

Company’s financial future—demonstrating that Defendants had to have been aware of

developments affecting that relationship. Market participants estimated that the Greatest Royal

Rumble (held in April 2018) and the Crown Jewel (held in November 2018) together generated

revenues for the Company in the range of $70 to $80 million.34       These results are especially

significant considering that the Company announced that its revenues for 2018 were “the highest

in the Company’s history,” increasing 16% from the prior year to $930.2 million. The Company

also announced that “international revenue increased 58% to $317.8 million from $201.3 million


34
     Raj Giri, How Much WWE May Have Made With Saudi Arabia Deal In 2018,
WRESTLINGINC.COM, dated Feb. 7, 2019 at https://www.wrestlinginc.com/news/2019/02/how-much-
wwe-may-have-made-with-saudi-arabia-deal-in-2019-650684/ (last visited June 18, 2020).



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in the prior year, the highest in the Company’s history and the first-time international revenue has

exceeded $300 million.”

        197.    Given the critical importance of the MENA region to the Company’s overall

business and projected growth, including specifically the importance of finalizing a new media-

rights agreement in the region, the problems detailed herein could not have occurred without

Defendants’ knowledge and acquiesence.

        198.    In addition, Defendant V. McMahon sold 3,204,427 shares of WWE stock from

February 2019 through February 2020 for proceeds of more than $261 million. Moreover, during

this same time period, 12,627 shares of Defendant V. McMahon’s stock worth $886,794 were

withheld by the Company to pay for his personal taxes in connection with Company-issued stock.

Through these transactions, Defendant V. McMahon disposed of approximately 10.1% of his

total shares that were available for sale during this time period.

        199.    Defendant V. McMahon sold more than 3.2 million Company shares for over $261

million in gross insider trading proceeds on March 27, 2019, with only a few days left in the

Company’s disappointing 2019 first quarter and while Defendant V. McMahon had known, or was

deliberately reckless in not knowing, that OSN had informed the Company in November 2018 that

it would not renew its media rights agreement and the parties had entered into a settlement dated

December 18, 2018, formally terminating the contract effective March 31, 2019.                     Thus

documenting that renewal of that particular media agreement for distribution of the Company’s

content in its key MENA market was impossible, forcing the Company to seek a new media partner

for distribution of its content in the Middle East, which put in serious jeopardy the ability to finalize

a media-rights agreement for the MENA region by the end of 2019.

        200.    The abrupt nature of Defendants Barrios and Wilson’s departure from the




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Company—mere days before the announcement of the disappointing financial results in the fourth

quarter—provides additional evidence of Board knowledge.

          201.   Defendant V. McMahon was one of the Company’s largest shareholders, served as

the Company’s CEO, and was the Chairman of the Board.              He clearly possessed unmatched

control over the Company. Defendant V. McMahon has served at all relevant times as the CEO

of the Company and Chairman of the Board.

          202.   Defendant Barrios was a Co-President of the Company, its principle financial

officer and a member of its Board. Prior to his abrupt termination on January 30, 2020, he clearly

had considerable control over the Company. Defendant Barrios also sold 114,678 shares of WWE

stock during the relevant period for proceeds of more than $8.6 million. In addition, during the

relevant period, 64,497 shares of Barrios’ WWE stock worth $4.5 million were withheld by the

Company to pay for his personal taxes in connection with Company-issued stock. Through these

transactions, Barrios disposed of approximately 74.1% of the total shares, including vested stock

units, he had available for sale during the relevant period.

          203.   Defendant Wilson was a Co-President of the Company and a member of its Board.

Prior to her abrupt termination on January 30, 2020, she clearly had considerable control over the

Company. Defendant Wilson sold 158,134 shares of WWE stock during the relevant period for

proceeds of approximately $11 million. In addition, during the relevant period, 65,318 shares of

Wilson’s WWE stock worth $4.6 million were withheld by the Company to pay for her personal

taxes in connection with Company-issued stock. Through these transactions, Wilson disposed of

100% of the total shares, including vested stock units, she had available for sale during the relevant

period.

          204.   These Defendants, as senior executive officers of the Company, were able to and




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did control the content of the various SEC filings, press releases, and other public statements

pertaining to the Company.

       205.    These Defendants were provided with copies of the documents and statements

alleged herein to be materially false and misleading prior to or shortly after their issuance and/or

had the ability and opportunity to prevent their issuance or cause them to be corrected.

       206.    Accordingly, these Defendants are responsible for the accuracy of the public

reports, releases, and other statements detailed herein and are primarily liable for the

misrepresentations and omissions contained therein.

       207.    These Defendants, because of their positions of control and authority as senior

executive officers and directors, had access to the adverse undisclosed information about the

Company’s business through their access to internal corporate documents and information,

conversations and associations with other corporate officers and employees, attendance at

regularly-held meetings, as well as other management and Board meetings and committees thereof,

and reports and other information provided to them in connection therewith.

       208.    As senior officers and controlling persons of a publicly held company whose

common stock was, during the relevant time, registered with the SEC pursuant to the Exchange

Act and traded on the NYSE, these Defendants each had a duty to promptly disseminate accurate

and truthful information with respect to the Company’s operations and business, and to correct any

previously issued statements that were or had become materially misleading or untrue, so that the

market price of the Company’s common stock would be based upon truthful and accurate

information. These Defendants’ wrongdoing violated these specific requirements and obligations.

       209.    These Defendants are liable as primary participants in a wrongful scheme and

course of business that operated as a fraud and deceit on all persons and entities who purchased or




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otherwise acquired the Company’s publicly traded securities, which included the dissemination of

materially false and misleading statements (both affirmative statements, misleading statements

and material omissions) regarding the Company’s business in the MENA region, including

renewal of a key media-rights agreement, and the deteriorating relationship with the Saudi

government.

        210.    The scheme: (a) deceived the investing public regarding the Company’s operations

and the true value of the Company’s common stock, and (b) caused the Company to repurchase

the Company’s common stock at artificially inflated prices, which fell as the true condition of the

Company’s business in Saudi Arabia and the MENA region was revealed.

        211.    Defendants are liable as participants in a fraudulent scheme and course of conduct

that operated as a fraud or deceit by disseminating materially false and misleading statements

and/or concealing material information. Defendants were culpable for this deceit insofar as they

acted, or omitted to act, in furtherance of the scheme with scienter.

                         THE COMPANY’S STOCK REPURCHASE

        212.    On April 25, 2018, the Board approved a stock repurchase plan that took effect

upon expiration of the prior plan on May 11, 2018 and authorized the Company to repurchase up

to $90 million of stock over the six months following its effective date.

        213.    On October 24, 2018, the Board approved a new stock repurchase plan, which

became effective November 11, 2018, that replaced the Company’s prior stock repurchase plan

and authorized the Company to repurchase up to $90 million of stock over the six months following

its effective date.

        214.    On March 8, 2019, the Board approved a $60 million share repurchase plan which

was scheduled to expire in September 2019.




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        215.    On May 1, 2019, the Board adjusted the repurchase parameters of the plan such that

it was expected to repurchase a further $9 million, between May 9, 2019 and the plan’s initially

scheduled expiration in September 2019 in addition to the $24 million purchased under the plan

prior to such period.

        216.    On July 29, 2019 and October 31, 2019, the Board approved further adjustments to

the plan to extend its term.

        217.    On February 13, 2020, the Board approved a new share repurchase plan, which

became effective February 24, 2020, that replaced the Company’s prior stock repurchase plan and

authorized the Company to repurchase up to $40 million of stock over the six months following

its effective date.

        218.    On February 28, 2020, the Board adjusted the repurchase parameters of the plan,

and the plan is now expected to repurchase an aggregate of approximately $19 million through the

plan’s expiration in August 2020.

        219.    The Company was financially harmed by being cause by Defendants to make these

stock repurchases at artificially inflated prices.

                        DUTIES OF THE DIRECTOR DEFENDANTS

        220.    By reason of their positions as officers and/or directors of the Company, and

because of their ability to control the business and corporate affairs of the Company, the Director

Defendants owed the Company and its investors the fiduciary obligations of trust, loyalty, and

good faith. The obligations required the Director Defendants to use their utmost abilities to control

and manage the Company in an honest and lawful manner. The Director Defendants were and are

required to act in furtherance of the best interests of the Company and its investors.

        221.    Each director of the Company owes to the Company and its investors the fiduciary




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duty to exercise loyalty, good faith, and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets. In addition, as officers and/or

directors of a publicly held company, the Director Defendants had a duty to promptly disseminate

accurate and truthful information regarding the Company’s operations, finances, and financial

condition, as well as present and future business prospects, so that the market price of the

Company’s stock would be based on truthful and accurate information.

       222.    To discharge their duties, the officers and directors of the Company were required

to exercise reasonable and prudent supervision over the management, policies, practices, and

controls of the affairs of the Company. By virtue of such duties, the officers and directors of the

Company were required to, among other things:

               (a)         ensure that the Company complied with its legal obligations and

       requirements, including acting only within the scope of its legal authority and

       disseminating truthful and accurate statements to the SEC and the investing public;

               (b)         conduct the affairs of the Company in an efficient, businesslike manner

       so as to make it possible to provide the highest quality performance of its business, to avoid

       wasting the Company’s assets, and to maximize the value of the Company’s stock;

               (c)         properly and accurately guide investors and analysts as to the true

       financial condition of the Company at any given time, including making accurate

       statements about the Company’s business prospects, and ensuring that the Company

       maintained an adequate system of financial controls such that the Company’s financial

       reporting would be true and accurate at all times;

               (d)         remain informed as to how the Company conducted its operations, and,

       upon receipt of notice or information of imprudent or unsound conditions or practices,




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       make reasonable inquiries in connection therewith, take steps to correct such conditions or

       practices, and make such disclosures as necessary to comply with federal and state

       securities laws;

               (e)         ensure that the Company was operated in a diligent, honest, and

       prudent manner in compliance with all applicable federal, state and local laws, and rules

       and regulations; and

               (f)         ensure that all decisions were the product of independent business

       judgment and not the result of outside influences or entrenchment motives.

       223.    Each Director Defendant, by virtue of his or her position as a director and/or officer,

owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith, and the

exercise of due care and diligence in the management and administration of the affairs of the

Company, as well as in the use and preservation of its property and assets. The conduct of the

Director Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and officers of the Company, the absence of good faith on their part, and

a reckless disregard for their duties to the Company and its shareholders that the Director

Defendants were aware, or should have been aware, posed a risk of serious injury to the Company.

       224.    The Director Defendants breached their duties of loyalty and good faith by causing

the Company to issue false and misleading statements concerning the business results and

prospects of the Company. As a result, the Company has expended, and will continue to expend,

significant sums of money related to investigations and lawsuits.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       225.    Plaintiffs bring this action derivatively in the right and for the benefit of the

Company to redress injuries suffered and to be suffered as a direct and proximate result of the




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breaches of fiduciary duties, Waste of Corporate Assets gross, unjust enrichment, violations of

Section 10(b) of the Exchange Act and SEC Rule 10b-5 against the Director Defendants, and

Section 20(a) of the Exchange Act against Defendant V. McMahon by the Director Defendants.

        226.   Plaintiffs will adequately and fairly represent the interests of the Company in

enforcing and prosecuting its rights and retained counsel competent and experienced in derivative

litigation.

        227.   Plaintiffs are current owners of the Company stock and have continuously been an

owners of Company stock during all times relevant to the Director Defendants’ wrongful course

of conduct alleged herein. Plaintiffs understand their obligation to hold stock throughout the

duration of this action and are prepared to do so.

        228.   During the illegal and wrongful course of conduct at the Company and through the

present, the Board consisted of the Director Defendants. Because of the facts set forth throughout

this Complaint, demand on the Company Board to institute this action is not necessary because

such a demand would have been a futile and useless act.

        229.   The Director Defendants either knew or should have known of the false and

misleading statements that were issued on the Company’s behalf and took no steps in a good faith

effort to prevent or remedy that situation.

        230.   The Director Defendants (or at the very least a majority of them) cannot exercise

independent objective judgment about whether to bring this action or whether to vigorously

prosecute this action. The Board was comprised of the following ten (10) defendants: Defendants

V. McMahon, S. McMahon, Levesque, Riddick, Goldfarb, Ong, Peterson, Singh, Speed, and

Wexler. For the reasons that follow, and for reasons detailed elsewhere in this complaint, Plaintiffs

have not made (and should be excused from making) a pre-filing demand on the Board as five (5)




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Board members are interested and thus a demand on the Board would be a futile and useless act.

        231.    Each of the Director Defendants approved and/or permitted the wrongs alleged

herein to have occurred and participated in efforts to conceal or disguise those wrongs from the

Company’s stockholders or recklessly and/or with gross negligence disregarded the wrongs

complained of herein and are therefore not disinterested parties.

        232.    Each of the Director Defendants authorized and/or permitted the false statements

to be disseminated directly to the public and made available and distributed to shareholders,

authorized and/or permitted the issuance of various false and misleading statements, and are

principal beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully

prosecute such a suit even if they instituted it.

        233.    Additionally, each of the Director Defendants received payments, benefits, stock

options, and other emoluments by virtue of their membership on the Board and their control of the

Company.

Defendant V. McMahon

        234.    The principal professional occupation of Defendant V. McMahon is his

employment with the Company as its CEO, pursuant to which he has received and continues to

receive substantial monetary compensation and other benefits.       Additionally, Defendant V.

McMahon is a named defendant in the securities class action entitled City of Warren Police and

Fire Retirement System v. World Wrestling Entertainment, Inc., et al., Civil Action No.: Civil

Action No. 1:20-cv-02031-JSR (S.D.N.Y) (the “Securities Class Action”).

        235.    Defendant V. McMahon earned the following as a result of his employment with

the Company:




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              Year     Salary     Bonus      Stock     Non-Equity      All Other     Total
                                            Awards    Incentive Plan Compensation
                                                      Compensation
 V.      2019        $1,400,000 $0         $1,677,716 $406,000       $19,987      $3,503,703
 McMahon
         2018        $1,400,000 $0         $1,507,401 $2,730,000         $20,837           $5,658,238
         2017        $1,388,462 $0         $0         $1,680,000         $19,075           $3,087,537

       236.    Defendant V. McMahon owns 28,697,568 shares of Class B Company stock

(92.3% of the class). Class B common stock is fully convertible into Class A common stock, on

a one-for-one basis, at any time at the election of the holder. The two classes are entitled to equal

per share dividends and distributions and vote together as a class with each share of Class B entitled

to ten votes and each share of Class A entitled to one vote, except when separate class voting is

required by applicable law. If any shares of Class B common stock are beneficially owned by any

person other than Vincent McMahon or his wife, Linda McMahon, any descendant of either of

them, any entity which is wholly owned and is controlled by any combination of such persons or

any trust, all the beneficiaries of which are any combination of such persons, each of those shares

will automatically convert into shares of Class A common stock.

       237.    Defendant V. McMahon’s 92.3 percent stock ownership of Class B voting stock

along with his family relationship with Defendant S. McMahon (the daughter of Defendant V.

McMahon) and Defendant Levesque (the husband of Defendant S. McMahon and son-in-law of

Defendant V. McMahon) (both Board members) means that these Board members could not be

independent as the family relationship between these Board members and the controlling

stockholder demonstrate that Defendants S. McMahon and Levesque are beholden to the

controlling shareholder Defendant V. McMahon.

       238.    Defendant V. McMahon also owns a majority of Alpha Entertainment, LLC

(“Alpha”), which owns and operates the professional football league XFL. Under arrangements

made at the time of its organization, WWE received, among other things, an equity interest in


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Alpha without payment by, or other financial obligation on the part of, WWE; WWE sold certain

intellectual property rights relating to XFL to Alpha for a payment in the amount of $1 million;

and WWE entered into a support services agreement under which WWE provides Alpha certain

administrative support services on a cost-plus margin basis. During the year ended December 31,

2019, Alpha was billed approximately $3.25 million for services under the administrative support

services agreement, of which $236,000 was due at year end and subsequently paid.

         239.    Further, since Defendant V. McMahon derives his principal income from his

employment at the Company, it is doubtful that he can consider the demand on its merits without

also pondering whether an affirmative vote would endanger his continued employment.

Defendant S. McMahon

         240.    The principal professional occupation of Defendant S. McMahon is her

employment with the Company as its Chief Brand Officer, pursuant to which she has received and

continues to receive substantial monetary compensation and other benefits.

         241.    Defendant S. McMahon earned the following as a result of his employment with

the Company:

                Year    Salary    Bonus      Stock      Non-Equity      All Other     Total
                                            Awards     Incentive Plan Compensation
                                                       Compensation
 S.      2019          $706,019   $0        $502,146   $102,950       $716,133     $2,027,248
 McMahon


         242.    Defendant S. McMahon is also the daughter of Defendant V. McMahon. Because

of this familial relationship, it is reasonable to conclude that these individuals would not sue each

other.

         243.    Defendant S. McMahon also owns 1,977,382 shares of Company B stock or 6.4%

of Class B stock. Defendant S. McMahon’s mother, Linda E. McMahon owns 566,770 shares of



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Company B stock or 1.8% of Class B stock.

        244.   There is a reasonable inference that Defendant S. McMahon is beholden to her

father’s (Defendant V. McMahon) voting control of Company stock; therefore, her discretion is

sterilized.

        245.   Further, since Defendant S. McMahon derives her principal income from her

employment at the Company, it is doubtful that she can consider the demand on its merits without

also pondering whether an affirmative vote would endanger her continued employment.

        246.   Defendant S. McMahon also has booking agreements with the Company (see DEF

14A, dated March 6, 2020 at p. 20) raising the inference that she is unlikely to sue herself.

        247.   Defendant S. McMahon also receives compensation in her capacity as employee of

the Company and as an independent contractor performer for the Company, including participating

in talent royalties for certain Company products bearing her name and/or likeness. Defendant S.

McMahon has a booking contract with the Company.

Defendant Levesque

        248.   The principal professional occupation of Defendant Levesque is his employment

with the Company as its EVP of Global Talent Strategy & Development, pursuant to which he has

received and continues to receive substantial monetary compensation and other benefits.

Defendant Levesque is the husband of Defendant S. McMahon.

        249.   There is a reasonable inference that Defendant Levesque is beholden to his father-

in-law’s (Defendant V. McMahon) voting control of Company B stock; therefore, his discretion is

sterilized.

        250.   Further, since Defendant Levesque derives his principal income from his

employment at the Company, it is doubtful that he can consider the demand on its merits without




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also pondering whether an affirmative vote would endanger his continued employment.

       251.    Defendant Levesque earned the following as a result of his employment with the

Company:

              Year    Salary     Bonus      Stock      Non-Equity        All Other         Total
                                           Awards     Incentive Plan   Compensation
                                                      Compensation
 Levesque 2019       $706,019    $0        $502,146   $102,950         $2,016,977       $3,328,092
          2018       $678,875    $0        $615,895   $667,022         $3,069,667       $5,031,459
          2017       $643,288    $0        $696,788   $390,000         $1,493,640       $3,223,716

       252.    Defendant Levesque also has booking agreements with the Company (see DEF

14A, dated March 6, 2020 at p. 20), raising the inference that he is unlikely to sue himself.

       253.    Defendant Levesque also receives compensation in his capacity as employee of the

Company and as an independent contractor performer for the Company, including participating in

talent royalties for certain Company products bearing his name and/or likeness. Defendant

Levesque has a booking contract with the Company.

       254.    Since he joined the Company as a performer in 1995, the Company has had a

booking agreement with Defendant Levesque as an independent contractor. Under his current

booking agreement, Defendant Levesque is entitled to a minimum guaranteed annual payment of

$1 million which the Company recoups from all payments under the agreement including pay for

performing in live and televised events and royalties for merchandise sold utilizing Defendant

Levesque’s name and/or likeness.

Defendant Riddick

       255.    The principal professional occupation of Defendant Riddick is his employment

with the Company as its Interim Chief Financial Officer, pursuant to which he has received and

continues to receive substantial monetary compensation and other benefits.

       256.    Further, since Defendant Riddick derives his principal income from his



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employment at the Company, it is doubtful that he can consider the demand on its merits without

also pondering whether an affirmative vote would endanger his continued employment.

Defendants Goldfarb, Singh and Speed

       257.    Demand is excused because Defendants Goldfarb, Singh and Speed face a

substantial likelihood of liability for their misconduct.

       258.    During the Relevant Period, Defendants Goldfarb, Singh and Speed served as

members of the Audit Committee. Pursuant to the Company’s Audit Committee Charter, the

members of the Audit Committee are responsible for, inter alia, reviewing the Company’s

financial statements, press releases, and assuring the adequacy and effectiveness of disclosure

controls, ensure ethical compliance, and otherwise meet their responsibilities as set forth in the

Audit Committee Charter.

       259.    Plaintiffs have pleaded sufficient particularized facts to show that beyond

Defendants Goldfarb, Singh and Speed membership in the Audit Committee, they had to have

known that (a) OSN had informed the Company in November 2018 that it would not renew its

media rights agreement and the parties had entered into a settlement dated December 18, 2018

formally terminating the contract effective March 31, 2019, meaning the renewal of that particular

media agreement for distribution of the Company’s content in its key MENA market was

impossible, and forcing the Company to seek a new media partner for distribution of its content in

the Middle East, which put in serious jeopardy the ability to finalize a media-rights agreement for

the MENA region by the end of 2019; (b) the Company’s relationship with the Saudi government

was under stress as a result of controversy the Company faced for holding events in the country,

as well as because the Saudi government had failed to make all payments owed to the Company

in a timely manner in connection with those events; and (c) as a result of the foregoing, Defendants’




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public statements were materially false and misleading at all relevant times. Plaintiff's allegations

are sufficient to support an inference that the Audit Committee knew of the failure to comply with

regulations and failed to act.

       260.    Defendants Goldfarb, Singh and Speed breached their fiduciary duties of due care,

loyalty, and good faith, because the Audit Committee, inter alia, allowed or permitted false and

misleading statements to be disseminated in the Company’s SEC filings and other disclosures and,

otherwise, failed to ensure that adequate internal controls were in place regarding the serious

business reporting issues and deficiencies described above. Therefore, Defendants Goldfarb, Singh

and Speed face a substantial likelihood of liability for their breach of fiduciary duties and any

demand upon them is futile.

Defendants V. McMahon, S. McMahon, Levesque, Wilson,
Goldfarb, Ong, Peterson, Riddick, Singh, Wexler and Barrios

       261.    Defendants V. McMahon, S. McMahon, Levesque, Wilson, Goldfarb, Ong,

Peterson, Riddick, Singh, Wexler and Barrios each signed the false and misleading FY18 10-K,

which failed to disclose that (a) OSN had informed the Company in November 2018 that it would

not renew its media rights agreement and the parties had entered into a settlement dated December

18, 2018 formally terminating the contract effective March 31, 2019, meaning the renewal of that

particular media agreement for distribution of the Company’s content in its key MENA market

was impossible, and forcing the Company to seek a new media partner for distribution of its

content in the Middle East, which put in serious jeopardy the ability to finalize a media-rights

agreement for the MENA region by the end of 2019; (b) the Company’s relationship with the Saudi

government was under stress as a result of controversy the Company faced for holding events in

the country, as well as because the Saudi government had failed to make all payments owed to the

Company in a timely manner in connection with those events; and (c)          as a result of the



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foregoing, Defendants’ public statements were materially false and misleading at all relevant

times.

                                               COUNT I

                (Against the Director Defendants for Breach of Fiduciary Duty)

         262.   Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth herein.

         263.   The Director Defendants owe the Company fiduciary obligations. By reason of

their fiduciary relationships, the Director Defendants owed and owe the Company the highest

obligation of good faith, fair dealing, loyalty, and due care.

         264.   The Director Defendants violated and breached their fiduciary duties of care,

loyalty, reasonable inquiry, and good faith.

         265.   The Director Defendants engaged in a sustained and systematic failure to properly

exercise their fiduciary duties. Among other things, the Director Defendants breached their

fiduciary duties of loyalty and good faith by allowing the Company to improperly misrepresent

the Company’s publicly reported business performance, as alleged herein. These actions could

not have been a good faith exercise of prudent business judgment to protect and promote the

Company’s corporate interests.

         266.   As a direct and proximate result of the Director Defendants’ failure to perform their

fiduciary obligations, the Company has sustained significant damages.           As a result of the

misconduct alleged herein, the Director Defendants are liable to the Company.

         267.   As a direct and proximate result of the Director Defendants’ breach of their

fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

image and goodwill. Such damage includes, among other things, costs associated with defending




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securities lawsuits, severe damage to the share price of the Company, resulting in an increased cost

of capital, and reputational harm.

                                           COUNT II

            (Against the Director Defendants for Waste of Corporate Assets)

       268.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth herein.

       269.    The wrongful conduct alleged regarding the issuance of false and misleading

statements was continuous, connected, and on-going throughout the Relevant Period. It resulted

in continuous, connected, and ongoing harm to the Company.

       270.    As a result of the misconduct described above, the Director Defendants wasted

corporate assets by, inter alia: (i) paying excessive compensation and bonuses to certain of its

executive officers; (ii) awarding self-interested stock options to certain officers and directors; and

(iii) incurring potentially millions of dollars of legal liability and/or legal costs to defend

Defendants’ unlawful actions.

       271.    As a result of the waste of corporate assets, the Director Defendants are liable to

the Company.

       272.    Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                            COUNT III

      (Against Defendants V. McMahon, Barrios, and Wilson For Unjust Enrichment)

       273.    Plaintiffs incorporate by reference and re-allege each and every allegation set forth

above, as though fully set forth herein.

       274.    By their wrongful acts and the omissions of material fact that they caused to be

made, Defendants V. McMahon, Barrios and Wilson were unjustly enriched at the expense of, and




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to the detriment of, the Company.

          275.   Defendant V. McMahon sold 3,204,427 shares of WWE stock from February 2019

through February 2020 for proceeds of more than $261 million. Moreover, during this same time

period, 12,627 shares of Defendant V. McMahon’s stock worth $886,794 were withheld by the

Company to pay for his personal taxes in connection with Company-issued stock. Through these

transactions, Defendant V. McMahon disposed of approximately 10.1% of his total shares that

were available for sale during this time period.

          276.   Defendant Barrios also sold 114,678 shares of WWE stock during the relevant

period for proceeds of more than $8.6 million. In addition, during the relevant period, 64,497

shares of Barrios’ WWE stock worth $4.5 million were withheld by the Company to pay for his

personal taxes in connection with Company-issued stock. Through these transactions, Barrios

disposed of approximately 74.1% of the total shares, including vested stock units, he had available

for sale during the relevant period.

          277.   Defendant Wilson sold 158,134 shares of WWE stock during the relevant period

for proceeds of approximately $11 million. In addition, during the relevant period, 65,318 shares

of Wilson’s WWE stock worth $4.6 million were withheld by the Company to pay for her personal

taxes in connection with Company-issued stock. Through these transactions, Wilson disposed of

100% of the total shares, including vested stock units, she had available for sale during the relevant

period.

          278.   Plaintiffs, as shareholders and representatives of the Company, seek restitution

from Defendants V. McMahon, Barrios and Wilson and seek an order from this Court disgorging

all profits, benefits, and other compensation, including any performance-based or valuation based

compensation, obtained by Defendants V. McMahon, Barrios, and Wilson due to their wrongful




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conduct and breach of their fiduciary duties.

                                           COUNT IV

                             (Against Defendants for Violations of
                   Section 10(b) of the Exchange Act and SEC Rule 10(b)-5)

       279.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth herein.

       280.    During the Relevant Period, Defendants disseminated or approved public

statements that failed to disclose that (i) OSN had informed the Company in November 2018 that

it would not renew its media rights agreement and the parties had entered into a settlement dated

December 18, 2018 formally terminating the contract effective March 31, 2019, meaning the

renewal of that particular media agreement for distribution of the Company’s content in its key

MENA market was impossible, and forcing the Company to seek a new media partner for

distribution of its content in the Middle East, which put in serious jeopardy the ability to finalize

a media-rights agreement for the MENA region by the end of 2019; (ii) the Company’s relationship

with the Saudi government was under stress as a result of controversy the Company faced for

holding events in the country, as well as because the Saudi government had failed to make all

payments owed to the Company in a timely manner in connection with those events; and (iii) as a

result of the foregoing, Defendants’ public statements were materially false and misleading at all

relevant times. Thus, the price of the Company’s shares was artificially inflated due to the

deception of the Director Defendants. Despite this artificial inflation in the price of the Company’s

shares, Defendants caused and/or allowed the Company to repurchase many millions of shares of

Company stock, thereby causing financial harm to the Company.

       281.    As alleged herein, Defendants acted with scienter in that they knew that the public

documents and statements issued or disseminated in the name of the Company were materially



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false and misleading; knew that such statements or documents would be issued or disseminated to

the investing public; and knowingly and substantially participated or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the federal securities laws.

As set forth elsewhere herein in detail, Defendants, by virtue of their receipt of information

reflecting the true facts regarding WWE, their control over, and/or receipt and/or modification of

WWE’s allegedly materially misleading statements and/or their associations with the Company

which made them privy to confidential proprietary information concerning WWE, participated in

the fraudulent scheme alleged herein.

       282.    Defendants knew and/or recklessly disregarded the false and misleading nature of

the information which they caused to be disseminated to the investing public. The fraudulent

scheme described herein could not have been perpetrated during the time in issue without the

knowledge and complicity or, at least, the reckless disregard of the personnel at the highest levels

of the Company, including Defendants.

       283.    Defendants were each members of the Board during the aforesaid time period.

Based on their roles at the Company, Defendants would have been involved with, or

knowledgeable about, the wrongdoing alleged herein.

       284.    At a minimum, Defendants failed to review or check information that they had a

duty to monitor or ignored obvious signs that their statements were materially false and misleading

or contained material omissions. Given the nature and extent of the problems at the Company,

Defendants knew and/or recklessly disregarded the extent and scope of their statements during the

relevant period.

       285.    Likewise, Defendants, by virtue of their high-level positions with the Company,

directly participated in the management of the Company, were directly involved in the day-to-day




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operations of the Company at the highest levels, and were privy to confidential proprietary

information concerning the Company and its business, operations, financial statements, and

financial condition, as alleged herein.

       286.     As such Defendants caused the Company to violate section 10(b) of the Exchange

Act and SEC Rule 10b-5 in that they:

                (a)    employed devices, schemes, and artifices to defraud; and

                (b)    made untrue statements of material facts or omitted to state material facts

       necessary in order to make the statements made, in light of the circumstances under which

       they were made, not misleading.

                                            COUNT V

              (Derivative Claim for Violations of Section 20(a) of the Exchange Act
                               Against Defendant V. McMahon)

       287.     Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth herein.

       288.     This Count is asserted on behalf of the Company against Defendant V. McMahon

for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

       289.     During his tenure as an executive officer and/or Chairman of the Board, Defendant

V. McMahon was a controlling person of all officers of the Company within the meaning of

Section 20(a) of the Exchange Act. By reason of his control, Defendant V. McMahon had the

power and authority to direct the management and activities of the other Company officers, to hire

and fire the other Company officers at whim, and to cause the other Company officers to engage

in the wrongful conduct complained of herein. Defendant V. McMahon was able to and did

control, directly or indirectly, the content of the public statements made by all other Company

officers during the time period in issue, including the materially misleading financial statements,



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thereby causing the dissemination of the false and misleading statements and omissions of material

facts as alleged herein.

        290.       In his capacity as the senior executive, and Chairman of the Board, Defendant V.

McMahon had direct involvement in and oversight over the day-to-day operations of the Company

officers and the Company’s employees, who would not act unless Defendant V. McMahon agreed

with his course of conduct.

        291.       As a result of the foregoing, Defendant V. McMahon, individually, was a

controlling person of the other Company officers within the meaning of Section 20(a) of the

Exchange Act.

        292.       As a direct and proximate result of Defendant V. McMahon’s conduct, the

Company suffered damages in connection with its purchase of WWE common stock at materially

inflated prices.

                                      REQUEST FOR RELIEF

WHEREFORE, Plaintiffs demand judgment as follows:

                   A.     Against all Defendants and in favor of the Company for the amount of

        damages sustained by the Company as a result of Defendants’ breaches of fiduciary duties;

                   B.     Directing the Company to take all necessary actions to reform and improve

        its corporate governance and internal procedures to comply with applicable laws and to

        protect the Company and its shareholders from a repeat of the damaging events described

        herein, including, but not limited to, putting forward for shareholder vote resolutions for

        amendments to the Company’s By-Laws or Articles of Incorporation and taking such other

        action as may be necessary to place before shareholders for a vote a proposal to strengthen




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       the Board’s supervision of operations and develop and implement procedures for greater

       shareholder input into the policies and guidelines of the Board;

               C.      Awarding to the Company restitution from Defendants, and each of them,

       and ordering disgorgement of all profits, benefits and other compensation obtained by

       Defendants;

               D.      Awarding to Plaintiffs the costs and disbursements of the action, including

       reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

               E.      Granting such other and further relief as the Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiffs demand a trial by jury on all issues so triable.

Dated: June 19, 2020
                                               GAINEY McKENNA & EGLESTON

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                                    VERIFICATION

        I, RYAN MERHOLZ, have reviewed the allegations made in this Verified

Amended Shareholder Derivative Complaint, know the contents thereof, and authorize its

filing. To those allegations of which I have personal knowledge, I believe those allegations

to be true. As to those allegations of which I do not have personal knowledge, I rely upon

my counsel and their investigation and believe them to be true. I further declare that I am

a current holder, and have been a holder, of World Wrestling Entertainment, Inc. common

stock at all relevant times.

        I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct. Executed this _19th_ day of June 2020.




                                                               Ryan Merholz
                                                             RYAN MERHOLZ
